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         Exhibit A
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                                                               Response, (ECF No. 190), and Defendants filed a Reply,
                                                               (ECF No. 197).
                  2020 WL 1638329
    Only the Westlaw citation is currently available.
                                                               Also pending before the Court is Defendants’ Objection,
       United States District Court, D. Nevada.
                                                               (ECF No. 198), to United States Magistrate Judge Cam
           BART STREET III, a Nebraska                         Ferenbach’s Order, (ECF No. 193), granting Plaintiff’s
        Limited Liability Company, Plaintiff,                  Motions to Establish Protocols for Searching Texts, (ECF
                          v.                                   No. 173), and to Compel, (ECF No. 178). Plaintiff filed a
                                                               Response, (ECF No. 199).
    ACC ENTERPRISES, LLC, a Nevada Limited
     Liability Company; ACC Industries, Inc., a
                                                               For the reasons discussed below, the Court DENIES
    Nevada Corporation; Calvada Partners, LLC, a
                                                               Plaintiff’s Motion for Summary Judgment. The Court
   Nevada Limited Liability Company, Defendants.               GRANTS in part and DENIES in part Defendants’ Motion
                                                               for Summary Judgment. The Court DENIES Defendants’
           Case No. 2:17-cv-00083-GMN-VCF
                                                               Objection.
                            |
                  Signed 03/31/2020
                            |                                  I. BACKGROUND
                   Filed 04/01/2020                            This case arises from Defendants’ alleged breach of a
                                                               multi-million-dollar loan contract (the “Contract” or the
Attorneys and Law Firms
                                                               “Agreement”) that Defendants entered with Plaintiff to
Matthew C. Wolf, Daniel R. McNutt, McNutt Law Firm, P.C.,      finance the expansion of Defendants’ marijuana cultivation
Las Vegas, NV, for Plaintiff.                                  business. Plaintiff Bart Street III, LLC was formed for the
                                                               purpose of providing a loan to Defendants’ business. (See
Daniel S. Cereghino, Brenoch R. Wirthlin, Fennemore Craig      Sean Mullen 1 Dep. 21:1–23:5, Ex. 7 to Pl.’s MSJ, ECF No.
Jones Vargas Kevin J. Hejmanowski, Anderson, McPharlin         183-2). Defendants own and operate a marijuana cultivation
& Conners LLP, Thomas H. Fell, Fennemore Craig, P.C.,          plant in Pahrump, Nevada, which is currently licensed by
Las Vegas, NV, for Defendants ACC Enterprises, LLC, ACC        the state to grow medical and recreational marijuana. (See
Industries, Inc.
                                                               Howard Misle 2 (“Misle”) Decl. ¶¶ 3–4, Ex. 1 to Defs.’
Daniel S. Cereghino, Brenoch R. Wirthlin, Fennemore Craig      MSJ, ECF No. 185-1). At the time the parties entered the
Jones Vargas, Kevin J. Hejmanowski, Anderson, McPharlin        Agreement, Defendants’ had a license to cultivate marijuana
& Conners LLP, Mark Hawkins, Thomas H. Fell, Fennemore         for medical use, but Nevada had not yet legalized recreational
Craig, P.C., Las Vegas, NV, for Defendant Calvada Partners,    marijuana at the state level. (See id. ¶ 9). Anticipating that
LLC.                                                           the state would sanction recreational marijuana, Defendants
                                                               sought outside funding to expand their operation. (Id.) To
                                                               that end, the parties reached an agreement for Plaintiff to
                         ORDER                                 loan Defendants $4.7 million through two promissory notes
                                                               (collectively, the “Notes”). (See Misle Dep. 64:24–71:1,
Gloria M. Navarro, District Judge                              82:20–86:6, Ex. 5 to Pl.’s MSJ, ECF No. 181-5); (First
                                                               Promissory Note (“First Note”), Ex. 10 to Pl.’s MSJ, ECF No.
 *1 Pending before the Court is Plaintiff Bart Street          183-5); (Second Promissory Note (“Second Note”), Ex. 11 to
III, LLC’s (“Plaintiff’s”) Motion for Summary Judgment,        Pl.’s MSJ, ECF No. 183-6).
(ECF No. 180). Defendants ACC Enterprises, LLC, ACC
Industries, Inc., and Calvada Partners, LLC (collectively,     The parties executed the First Note on August 19, 2016. (See
“Defendants”) filed a Response, (ECF No. 191), and Plaintiff   First Note). The Note provided Defendants a $3.5 million
filed a Reply, (ECF No. 196).                                  loan at an interest rate of seven percent (7%) per year.
                                                               (Id.). The terms of the First Note earmarked Defendants’
Also pending before the Court is Defendants’ Motion            uses of the loan funds as follows: $25,000.00 to Plaintiff
for Summary Judgment, (ECF No. 185). Plaintiff filed a         for due diligence costs, $750,000.00 to Defendants for



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operating capital, $2,200,000.00 to Beverly Pacific, LLC            whether the illegal provisions of the contract are severable.
(“BP”), $275,000.00 to Insight Medical, LLC (“Insight”),            (Id. 8:19–22, 9:6–17). It noted that a provision is severable
and $275,000.00 to Hill Health, LLC (“HH”). (Id.) BP,               if it is collateral to the parties’ intent in entering the contract.
Insight, and HH had previously extended loans to Defendants         (Id. 8:22–9:5). If the illegal provisions are severable, then
that would soon become due. (See HH and Insight Loan                the Court may enforce the lawful terms of the Contract. (Id.)
Agreement, Ex. 8 to Pl.’s MSJ, ECF No. 183-3); (BP                  The Court found that the right of first refusal and operating
Convertible Promissory Note, Ex. 9 to Pl.’s MSJ, ECF No.            capital terms violated the CSA. (Id. 10:5–23). Both were
183-4); (Misle Dep. 39:12–25, 99:8–102:20, 114:18–115:12,           unenforceable because the right of first refusal term would
ECF Nos. 181-5, 182–1). The First Note also included a right        have allowed Plaintiff to profit from the sale of marijuana, and
of first refusal term stating, “During the period of time that      the operating capital provision provided direct assistance to
there is any outstanding principal or interest due under this       Defendants’ cultivation of marijuana. (Id.) Nevertheless, the
Note, at the option of the Holder, the Holder shall have a First    Court concluded that it did not have the evidence to assess
Right of Refusal to participate and obtain fully paid and non-      the Contract’s severability at the motion to dismiss stage. (Id.
assessable Units or Shares of either or both ACC Industries,        10:24–11:8). It explained, “[w]hether severance should apply
Inc. and ACC Enterprises, LLC.” (First Note ¶ 12).                  in this case, however, is a question to be decided through
                                                                    evidence that such action would be in line with the parties’
 *2 The parties executed the Second Note on September 6,            intent in contracting and that the unenforceable provisions are
2016, which provided Defendants $1.2 million at an interest         collateral to the overall agreement—evidence the Court does
rate of three percent (3%) per year (See Second Note). The          not have at this stage of the case.” (Id.)
Second Note’s earmarks directed Defendants to purchase two
parcels of land; the Note provided $500,000.00 to acquire           Now at summary judgment, the parties dispute their intent
the parcel located at 1241 E. Calvada Boulevard, Pahrump,           in entering the Contract. Plaintiff contends that the Contract
Nye County, Nevada and $700,000.00 for the nearby 1261              was primarily a loan, and the right of first refusal term
E. Calvada Boulevard. (See id.). The Second Note included           was collateral to the parties’ intent in entering the Contract.
a right of first refusal provision identical to that of the First   (See Pl.’s MSJ, Statement of Facts ¶¶ 7–8, 14). In contrast,
Note. (See id. ¶ 12).                                               Defendants argue that the Notes were part of a larger
                                                                    $9 million agreement (the “Modification Agreement”) for
Defendants did not repay the BP loan as the First Note              Plaintiff to obtain an equity stake in Defendants’ marijuana
required. (Misle Dep. 82:12–16, 116:17–20). Instead, on             business, which demonstrates the centrality of Plaintiff’s
October 24, 2016, BP converted its loan to equity on behalf         intent to profit from Defendants’ sale of marijuana. (Defs.’
of its successor-in-interest, Vert Holdings, LLC (“Vert”), but      MSJ, Statement of Facts ¶¶ 27–40, 43, 47). Even if the parties
Defendants retained the $2.2 million allocated to paying BP         never executed the Modification Agreement, Defendants
in the First Note. (Vert Membership Purchase Agreement              argue that the right of first refusal term is not severable
§ 1.4, Ex. 16 to Pl.’s MSJ, ECF No. 184-5); (Misle Dep.             because Plaintiff primarily intended upon having a pathway to
123:6–124:24). Defendants have not repaid any principal or          obtain equity in Defendants’ business. (See id. ¶¶ 42, 45–46).
interest owed under the Notes. (See Misle Dep. 68:9–14,             Accordingly, both parties now move for summary judgment.
93:18–19, 253:13–15); (Peter Seltzer 3 Dep. 56:19–22, Ex.           (See MSJs, ECF Nos. 180, 185).
6 to Pl.’s MSJ, ECF No. 182-2). Plaintiff commenced this
action for breach of contract and unjust enrichment by filing
                                                                    II. LEGAL STANDARD
the Complaint on January 10, 2017. (See Compl., ECF No. 1).
                                                                       A. Motion for Summary Judgment
On October 26, 2017, Defendants moved to dismiss the                 *3 The Federal Rules of Civil Procedure provide for
Complaint, primarily arguing that they cannot be liable for         summary adjudication when the pleadings, depositions,
breach of a contract that is illegal under the Controlled           answers to interrogatories, and admissions on file, together
Substances Act, 21 U.S.C. § 801 et seq. (“CSA”). (See               with the affidavits, if any, show that “there is no genuine
Renewed Mot. Dismiss (“MTD”), ECF No. 155) In its Order,            dispute as to any material fact and the movant is entitled to
the Court found that Nevada does not take such a black-             judgment as a matter of law.” Fed. R. Civ. P. 56(a). Material
and-white approach to the enforceability of illegal contracts.      facts are those that may affect the outcome of the case. See
(MTD Order 8:19–22, ECF No. 155). Rather, the Court asked



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                                                                    to resolve the parties’ differing versions of the truth at trial.”
   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106
S.Ct. 2505, 91 L.Ed.2d 202 (1986). A dispute as to a material          T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass'n, 809
fact is genuine if there is sufficient evidence for a reasonable    F.2d 626, 631 (9th Cir. 1987). In other words, the nonmoving
                                                                    party cannot avoid summary judgment by relying solely on
jury to return a verdict for the nonmoving party. See     id.
                                                                    conclusory allegations that are unsupported by factual data.
“Summary judgment is inappropriate if reasonable jurors,
drawing all inferences in favor of the nonmoving party, could       See        Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989).
                                                                    Instead, the opposition must go beyond the assertions and
return a verdict in the nonmoving party’s favor.” Diaz v.
                                                                    allegations of the pleadings and set forth specific facts by
Eagle Produce Ltd. P’ship, 521 F.3d 1201, 1207 (9th Cir.
                                                                    producing competent evidence that shows a genuine issue for
2008) (citing    United States v. Shumway, 199 F.3d 1093,
                                                                    trial. See Celotex Corp., 477 U.S. at 324, 106 S.Ct. 2548.
1103–04 (9th Cir. 1999)). A principal purpose of summary
                                                                    At summary judgment, a court’s function is not to weigh the
judgment is “to isolate and dispose of factually unsupported
                                                                    evidence and determine the truth but to determine whether
claims.”    Celotex Corp. v. Catrett, 477 U.S. 317, 323–24,
                                                                    there is a genuine issue for trial. See Anderson, 477 U.S. at
106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).
                                                                    249, 106 S.Ct. 2505. The evidence of the nonmovant is “to be
                                                                    believed, and all justifiable inferences are to be drawn in his
In determining summary judgment, a court applies a burden-
shifting analysis. “When the party moving for summary               favor.”  Id. at 255, 106 S.Ct. 2505. But if the evidence of
judgment would bear the burden of proof at trial, it must come      the nonmoving party is merely colorable or is not significantly
forward with evidence which would entitle it to a directed
                                                                    probative, summary judgment may be granted. See             id. at
verdict if the evidence went uncontroverted at trial. In such a
                                                                    249–50, 106 S.Ct. 2505.
case, the moving party has the initial burden of establishing
the absence of a genuine issue of fact on each issue material to
its case.”    C.A.R. Transp. Brokerage Co. v. Darden Rests.,          B. Objections to a Magistrate Judge’s Order
Inc., 213 F.3d 474, 480 (9th Cir. 2000) (citations omitted).         *4 When reviewing the order of a magistrate judge, the
In contrast, when the nonmoving party bears the burden of           order should only be set aside if the order is clearly erroneous
proving the claim or defense, the moving party can meet its         or contrary to law. Fed. R. Civ. P. 72(a); LR IB 3-1(a);
burden in two ways: (1) by presenting evidence to negate                28 U.S.C. § 636(b)(1)(A);    Laxalt v. McClatchy, 602 F.
an essential element of the nonmoving party’s case; or (2)          Supp. 214, 216 (D. Nev. 1985). A magistrate judge’s order
by demonstrating that the nonmoving party failed to make            is “clearly erroneous” if the court has “a definite and firm
a showing sufficient to establish an element essential to that
                                                                    conviction that a mistake has been committed.” See United
party’s case on which that party will bear the burden of proof
                                                                    States v. United States Gypsum Co., 333 U.S. 364, 395, 68
at trial. See Celotex Corp., 477 U.S. at 323–24, 106 S.Ct.          S.Ct. 525, 92 L.Ed. 746 (1948); Burdick v. Comm'r IRS, 979
2548. If the moving party fails to meet its initial burden,         F.2d 1369, 1370 (9th Cir. 1992). “An order is contrary to
summary judgment must be denied and the court need not              law when it fails to apply or misapplies relevant statutes,
consider the nonmoving party’s evidence. See   Adickes v.           case law or rules of procedure.” UnitedHealth Grp., Inc. v.
S.H. Kress & Co., 398 U.S. 144, 159–60, 90 S.Ct. 1598, 26           United Healthcare, Inc., No. 2:14-cv-00224-RCJ, 2014 U.S.
L.Ed.2d 142 (1970).                                                 Dist. LEXIS 129489, 2014 WL 4635882, at *1 (D. Nev.
                                                                    Sept. 16, 2014). When reviewing the order, however, the
If the moving party satisfies its initial burden, the burden then   magistrate judge “is afforded broad discretion, which will be
shifts to the opposing party to establish that a genuine issue      overruled only if abused.” Columbia Pictures, Inc. v. Bunnell,
                                                                    245 F.R.D. 443, 446 (C.D. Cal. 2007). The district judge “may
of material fact exists. See   Matsushita Elec. Indus. Co. v.       not simply substitute its judgment” for that of the magistrate
Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 89
L.Ed.2d 538 (1986). To establish the existence of a factual         judge.     Grimes v. City and County of San Francisco, 951
dispute, the opposing party need not establish a material issue     F.2d 236, 241 (9th Cir. 1991) (citing United States v. BNS,
of fact conclusively in its favor. It is sufficient that “the       Inc., 858 F.2d 456, 464 (9th Cir. 1988)).
claimed factual dispute be shown to require a jury or judge



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                                                                   additional $6 million equity investment. (Id. 7:7–13:8, 23:16–
III. DISCUSSION                                                    26, 24:14–19). Defendants argue that Plaintiff breached the
Plaintiff argues that it should receive summary judgment           agreement by failing to remit the remaining $4.7 million
on its breach of contract claim because the illegal terms of       owed to Defendants. (Id.). Alternatively, Defendants argue
the Contract are severable; or, in the alternative, Plaintiff      that even if the Contract was not modified, Plaintiff breached
contends it should recover for Defendants’ unjust enrichment.      the agreement by initiating this lawsuit before the maturity
(Pl.’s MSJ 18:12–28:7, ECF No. 180). Defendants ask the            date of the Notes. (Id. 23:27–24:13). Regarding the first
Court to hold that they are liable under neither theory because    allegation, Plaintiff responds that the parties never completed
of the Contract’s illegality. (Defs.’ MSJ 14:20–26:16, ECF         a modification compliant with the statute of frauds. (Pl.’s
No. 185). The Court begins its analysis with breach of             Resp. 20:2–4); (Pl.’s MSJ 13:1–17:27). Plaintiff also argues it
contract.                                                          did not breach the Notes because, even though it commenced
                                                                   this action before the maturity date, Defendants preliminarily
                                                                   breached the Contract by failing to repay BP pursuant to the
   A. Breach of Contract
                                                                   First Note and instead letting BP convert its note to equity.
Plaintiff argues that the Contract with Defendants is valid
                                                                   (Pl.’s Resp. 19:4–20:12).
and enforceable because the Court can sever the right of
first refusal and operating capital terms. (Pl.’s MSJ 18:12–
                                                                    *5 The Court concludes that the first breach defense
25:28). Defendants argue that the Contract is unenforceable
                                                                   is inapplicable. Defendants cannot successfully assert that
because: (1) it violates federal law; (2) the illegal provisions
                                                                   Plaintiff breached a $9,000,000.00 modification agreement
cannot be severed; and (3) Plaintiff engaged in the first
                                                                   because Defendants’ purported modification is barred by the
breach of the Contract. (Defs.’ MSJ 14:12–25:17). The Court
                                                                   statute of frauds. Nevada’s statute of frauds explains that
addresses Defendants’ first-to-breach defense before turning
                                                                   certain agreements are void “unless the agreement, or some
to the Contract’s legality.
                                                                   note or memorandum thereof expressing the consideration, is
                                                                   in writing, and subscribed by the person charged therewith.”
                                                                   NRS § 111.220. Loans of over $100,000 “made by a person
                       1. First Breach                             engaged in the business of lending money” and modifications
                                                                   thereof are subject to the statute of frauds. NRS § 111.220(4);
The Court first addresses Defendants’ argument that Plaintiff
                                                                   see, e.g., Hampton v. Countrywide Home Loans Inc., No.
is precluded from seeking recovery under the so-called “first
                                                                   2:10-cv-01775-RLH-GWF, 2011 U.S. Dist. LEXIS 53715,
breach doctrine” because, if Defendants are correct, the Court
                                                                   2011 WL 1792743, at *2 (D. Nev. May 11, 2011). The
need not analyze Plaintiff’s breach of contract claim further.
                                                                   Promissory Notes’ text indicates that Plaintiff extended a $4.7
The Court concludes the defense is inapplicable because
                                                                   million loan to Defendants. (See Promissory Notes, Exs. 10–
Defendants engaged in the first breach of the Contract.
                                                                   11 to Pl.’s. MSJ, ECF No. 183-5–183-6). Plaintiff is in the
                                                                   business of lending money; it was formed for the express
Nevada law provides, “the party who commits the first breach
                                                                   purpose of lending money to Defendants. (Mullen Dep. 23:2–
of the contract cannot maintain an action against the other for
                                                                   5, Ex. 7 to Pl.’s MSJ, ECF No. 183-2). Therefore, for a
a subsequent failure to perform.” Bradley v. Nev.-Cal.-Or. Ry.,
                                                                   modification to be enforceable, it must have been reduced
42 Nev. 411, 178 P. 906, 908 (Nev. 1919). If the first breach of
                                                                   to a writing signed by Plaintiff. However, Defendants argue
the contract is material, it may excuse the other party’s non-
                                                                   that the agreement was reduced to a writing and accepted by
performance of its obligations. See Las Vegas Sands, LLC v.
                                                                   silence. (Defs.’ MSJ 9:18–10:11)
Nehme, 632 F.3d 526 (9th Cir. 2011).
                                                                   Defendants highlight evidence indicating that the parties
Defendants argue that Plaintiff breached the Contract in
                                                                   negotiated to reach a $9 million Modification Agreement,
two ways prior to Defendants’ alleged breach, which
                                                                   which, at best, shows that the parties intended to execute the
bars Plaintiff’s recovery. (See Defs.’ MSJ 23:16–24:19).
                                                                   modification. (See Misle Decl. ¶¶ 23, 28, Ex. A to March
Defendants premise the first alleged breach upon a purported
                                                                   14, 2017 Resp. to Pl.’s MSJ, ECF No. 35) (noting that the
modification to the Notes. Specifically, Defendants argue
                                                                   parties orally modified the Notes); (Defs.’ MSJ ¶¶ 31–40)
that the parties modified their $4.3 million agreement into a
                                                                   (describing negotiations over a modification that were never
larger $9 million financing arrangement under which Plaintiff
                                                                   reduced to a signed writing containing that material terms of
would provide Defendants with a $3 million loan and an


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the modification). Defendants argue that Plaintiff accepted the    [t]hus, unlike Bassidji, ordering payment on the parties’
Modification Agreement’s terms by silence after Defendants         contract would not mandate illegal conduct.”) Concluding
sent Plaintiff an email articulating the terms and Plaintiff       that such a remedy is possible, the Court explained that
subsequently failed to respond. (Defs.’ MSJ 9:18–10:11);           the entire agreement is not automatically unenforceable
(see Calvada Partners’ Answers to RFA No. 22, Ex. 29 to            because, “Nevada law allows courts to sever the illegal
Pl.’s MSJ 12:9–10, ECF No. 184-18). While the evidence             portions from those that are legal, and then enforce the legal
could indicate that the parties intended to agree to the alleged   portions.” (MTD Order, 8:20–21, ECF No. 155). The Court
modification, the modification was never reduced to a signed       clarified that if the illegal provisions—the right of first refusal
writing, and its enforcement is therefore barred by the statute    and operating capital terms—are severable, the Court can
of frauds. See Nehls v. William Stock Farming Co., 43 Nev.         fashion relief because the provisions lending money to repay
253, 184 P. 212, 214 (Nev. 1919) (acknowledging acceptance         existing debts and purchase land are lawful. (Id.). Given
by silence as an exception to the statute of frauds only under     that the Court’s previous holding is the law of the case, the
a theory of promissory estoppel). Accordingly, there was no
                                                                   Court declines to disturb it. See Christianson v. Colt Indus.
legally operative modification.
                                                                   Operating Corp. 486 U.S. 800, 817, 108 S.Ct. 2166, 100
                                                                   L.Ed.2d 811 (1988). The Court now addresses the dispositive
The Court concludes that Plaintiff did not engage in the
                                                                   issue to Plaintiff’s breach of contract claim: severability.
first breach of the Contract by initiating this lawsuit. The
First Note instructs Defendants to repay BP. (See First Note).
Instead of taking payment on its note, BP converted its note
to equity, and the conversion caused Defendants to breach                                   3. Severability
the First Note. (BP Convertible Promissory Note, Ex. 9 to
                                                                    *6 The parties dispute whether the illegal portions of
Pl.’s MSJ, ECF No. 183-4). Therefore, even though Plaintiff
                                                                   the contract, the right of first refusal and operating capital
commenced this action before the maturity date, Defendants’
                                                                   terms, are severable from the otherwise lawful provisions.
alleged breach is not excused by the first-to-breach defense.
                                                                   (See Pl.’s MSJ 24:10–25:24); (Defs.’ MSJ 24:20–25:17).
                                                                   The Court finds that it cannot determine severability at
The Court next discusses Defendants’ argument that the
                                                                   summary judgment. Although severability is an issue of law
Contract is unenforceable because it is illegal. The Court first
                                                                   for the Court to decide, there is an underlying dispute of fact
addresses Defendants’ renewed argument that the entirety of
                                                                   regarding whether the right of first refusal was collateral to
the Contract is illegal before turning to severability.
                                                                   the parties’ primary purpose in entering the Contract.

                                                                   While illegal contracts are generally unenforceable under
                         2. Illegality                             Nevada law, a contract containing illegal provisions is
                                                                   enforceable if the illegal terms are severable. See Vincent v.
Despite the previous Order holding the contrary, Defendants
                                                                   Santa Cruz, 98 Nev. 338, 647 P.2d 379, 381 (Nev. 1982).
again press that the entire Contract is illegal under the
                                                                   Contract terms are severable if they are “collateral to the main
CSA. (Defs.’ MSJ 14:20–23:15). In the previous Order, the
                                                                   transaction.” Id. A term is collateral if the court could strike
inquiry for the Court was whether it could grant Plaintiff’s
                                                                   the provision and enforcement would preserve the parties’
relief under Nevada substantive law in a manner that did
                                                                   intent in making the agreement. See id.; see also Sprouse v.
not conflict with federal law. (See id. 9:18–10:4); see also
                                                                   Wentz, 105 Nev. 597, 781 P.2d 1136, 1140–41 (Nev. 1989).
Ginsburg v. ICC Holdings, LLC, No. 3:16-cv-2311-D, 2017
                                                                   Whether terms are severable is a question of law to be decided
U.S. Dist. LEXIS 187391, 2017 WL 5467688, at *9 (N.D.
                                                                   by the court. Sprouse, 781 P.2d at 1140. The court determines
Tex. Nov. 13, 2017) (explaining that promissory notes
                                                                   severability first by looking to the terms and subject-matter
financing a marijuana business are not automatically void
                                                                   of the contract. Id. If the parties’ intent remains unclear, then
because “federal courts do not take such a ‘black-and-white’
                                                                   the court turns to testimony surrounding the making of the
approach to enforceability.”); Mann. v. Gullickson, No. 15-        contract. See id.; see also Serpa v. Darling, 107 Nev. 299, 810
cv-03630-MEJ, 2016 U.S. Dist. LEXIS 152125, 2016 WL                P.2d 778, 782 (Nev. 1991) (Rose, J., dissenting).
6473215, at *7 (N.D. Cal. 2016) (explaining that payment
for the purchase of a marijuana business “does not require         In the previous Order, the Court held that the right of
[defendant] to possess, cultivate, or distribute marijuana....     first refusal and operating capital provisions of the Contract


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are illegal because they “permit[ ] Defendants to directly         funds for due diligence costs and payment to prior lenders);
use Plaintiff’s funds for cannabis cultivation or to gain          (Second Promissory Note, Ex. 11 to Pl.’s MSJ, ECF No.
ownership in Defendant’s cannabis business.” (MTD Order            183-6) (earmarking funds to acquire two parcels of land);
10:5–10:23). The Court, however, left its determination            (see also Order 9:18–10:4) (explaining that those provisions
of severability for a later date. (Id. 7:3–12:9). The Order        mandate only lawful conduct). Nevertheless, both Notes
explained, “[w]hether severance should apply in this case ...      provide Plaintiff a right of first refusal to acquire units or
is a question to be decided through evidence that such action      shares in Defendants’ business if any are offered while any
would be in line with the parties’ intent in contracting and       principal or interest remains owing on the Notes. (See First
that the unenforceable provisions are collateral to the overall    Note ¶ 12); (Second Note ¶ 12). The right of first refusal
agreement—evidence the Court does not have at this stage in        is not earmarked for specific consideration, but the Court
the case.” (Id. 11:2–5).                                           is unconvinced that it can draw any conclusions about the
                                                                   parties’ intent from the omission. The Notes’ terms do not
Now, at summary judgment, the Court assesses the evidence          resolve whether providing Plaintiff a potential pathway to
of the parties’ intent. 4 If the parties’ primarily intended the   ownership was essential to Plaintiff’s intent, or if the right
loan to provide Plaintiff a path to obtain an ownership interest   of first refusal was collateral to Plaintiff’s intent to issue
in Defendants’ marijuana business, then the entire Contract is     Defendants a loan.
unenforceable. However, if the parties primarily intended to
execute a loan agreement for which the right of first refusal      The parties’ extrinsic evidence does little to resolve the
and operating capital provisions were not essential to the         parties’ intent. Plaintiff primarily rests its argument that the
parties’ intent in entering the agreement, then the provisions     term is severable on the Notes’ non-assignment of specific
are severable and do not defeat enforcement. (See id. 8:19–        consideration for the right of first refusal. (See Pl.’s MSJ
10:4, 10:24–12:9).                                                 25:1–24). Plaintiff also argues that the parties primarily
                                                                   intended to create a loan agreement “because Defendants
 *7 Plaintiff argues that the Court should sever any unlawful      were facing critical deadlines to purchase the Real Property
provisions of the Contract because they are collateral to the      and repay HH[ ], [Insight,] and BP.” (Id. 24:23–27); (citing
parties’ primary purpose: “enabl[ing] Defendants to purchase       Mullen Email, Oct. 4, 2016, Ex. 12 to Pl.’s MSJ, ECF No.
the Real Property and repay [HH, Insight,] and BP.” (Pl.’s         184-2) (“We advanced these monies almost a month ago
MSJ 25:1–3); (see also Pl.’s Resp. to Defs.’ MSJ, 20:13–           because you told us that you were against a critical time
21:7). Plaintiff explains that unlike the earmarks, the right      issue on both the real estate and the BP note.”); (Seltzer Dep.
of first refusal was never assigned any value on the face of       190:14–22, Ex. 6 to Pl.’s MSJ, ECF No. 183-1) (explaining
the Promissory Notes, and it is therefore severable because        that Plaintiff made the loan at a “critical time” to pay prior
its value is de minimis. (Id. 25:7–10). Plaintiff also argues      debts and acquire the real property); (Mullen Dep. 106:3–23,
that the term is severable because Plaintiff has the right to      Ex. 7 to Pl.’s MSJ, ECF No. 183-2) (explaining that despite
                                                                   knowing Defendants’ business was federally illegal, Plaintiff
waive the provision as its beneficiary. ( Id.) Defendants          advanced the loan to help them pay prior debts); (Mullen Dep.
counter that, “[p]laintiff’s single overriding intent was to       122:10–17) (explaining that Defendants wanted to borrow
provide financial assistance to and, in turn, derive financial     money from Plaintiff “to pay out BP.”). Defendants contend
benefit from (including an ownership interest in) Defendants’      that Plaintiff primarily extended the loan to obtain a path to an
marijuana cultivation business.” (Defs.’ Resp. to Pl.’s MSJ        equity investment in Defendants’ business through the right
5:18–20); (see also Defs.’ MSJ 20:6–24) (explaining that           of first refusal. (Defs.’ MSJ 25:13–27); (Misle Decl. ¶ 16, Ex.
providing Plaintiff a right of first refusal as a pathway to       1 to Defs.’ MSJ, ECF No. 186-1) (explaining that Plaintiff,
invest in and profit from Defendants’ business is part of          when attempting to exercise its right of first refusal, stated,
the Contract’s primary purpose). Therefore, they argue the         “I don't give a damn what you guys keep doing with BP in
Contract is unenforceable in its entirety. (Id. 5:20–7:5).         the deal as long as we're not diluted and it comes from your
                                                                   end only); (Idleman Dep. 103:17–25, Ex. 4 to Defs.’ MSJ,
Looking first to the text and subject-matter of the Promissory     ECF No. 186-1) (admitting he stated “I don't really give an
Notes, the Court finds that the parties’ intent is ambiguous.      mmmm about BP ... just as long as they don't impact our rights
Several of the requirements of the Promissory Notes evidence       under this right of first refusal in our loan, just as long as
the intent to enter lawful transactions. (See First Promissory     they don't dilute any future equity we may pick up); (Defs.’
Note, Ex. 10 to Pl.’s MSJ, ECF No. 183-5) (earmarking


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Resp. to Pl.’s MSJ 7:25–4); (citing Idelman Dep. 166:2–16,              Mortg. & Equity Trust v. McDonald, 97 Nev. 210, 626 P.2d
202:11–13, 253:11–20, Ex. C to Defs.’ Resp., ECF No. 191-1)             1272, 1273 (Nev. 1981)). However, unjust enrichment arises
(explaining that Plaintiff had interest in an equity deal with          in equity, and “[t]he unclean hands doctrine generally bars a
Defendants when it first executed the Notes, but Plaintiff later        party from receiving equitable relief because of that party’s
lost interest because Defendants allowed BP to convert its
                                                                        own inequitable conduct.” See Las Vegas Fetish & Fantasy
note to equity, and Plaintiff thought an investment would be
                                                                        Halloween Ball, Inc. v. Ahern Rentals, Inc., 124 Nev. 272,
risky after the 2016 election).
                                                                        182 P.3d 764, 766 (Nev. 2008) (internal quotations omitted)

 *8 It bares mentioning that the severability inquiry requires          (quoting Food Lion, Inc. v. S.L. Nusbaum Ins. Agency, Inc.,
the Court to ask if enforcement of the Contract after severing          202 F.3d 223, 228 (4th Cir. 2000)).
the illegal terms would effectuate the parties’ intent at the
time the Contract was entered. See Vincent, 647 P.2d at 381;            Generally, a party cannot recover for unjust enrichment based
Sprouse, 781 P.2d at 1140–41. If the Court finds that Plaintiff         upon an illegal agreement because “[n]o court should be
would not have offered Defendants a loan without receiving              required to serve as paymaster of the wages of a crime.”
a right of first refusal as consideration, then the right of                Loomis v. Lange Fin. Corp., 109 Nev. 1121, 865 P.2d 1161,
first refusal is not collateral to the parties’ intent in entering      1165 (Nev. 1993) (internal quotations omitted) (quoting Stone
the transaction, and the entire Contract is unenforceable.              v. Freeman, 298 N.Y. 268, 82 N.E.2d 571, 572 (N.Y. 1948)).
Plaintiff’s present lack of interest in exercising its right of first   The prohibition on enforcement exists “for the purposes of
refusal is irrelevant.                                                  protecting the public and the courts from imposition.” Magill
                                                                        v. Lewis, 74 Nev. 381, 333 P.2d 717, 719 (Nev. 1958) (quoting
There remains a dispute of fact that the Court cannot
decide at summary judgment. Plaintiff’s extrinsic evidence                 Norwood v. Judd, 93 Cal.App.2d 276, 209 P.2d 24 (Cal.
demonstrates that Defendants sought the loan to purchase                Ct. App. 1949)). However, a narrow exception arises when,
real estate and repay existing lenders, but the evidence does           “by applying the rule, the public cannot be protected because
not speak to whether Plaintiff would have made the loan                 the transaction has been completed, where no serious moral
without receiving a right of first refusal. Defendants’ evidence        turpitude is involved, where the defendant is the one guilty
suggests that Plaintiff placed considerable value on its right          of the greatest moral fault, and where to apply the rule will
of first refusal, but the evidence does not establish whether           be to permit the defendant to be unjustly enriched at the
the provision was essential to the consummation of the                  expense of the plaintiff ...”   Id. See also    Loomis, 865
agreement. Given the dispute of material fact, the Court leaves         P.2d at 1165 (explaining that the Magill exception applies
its severability determination for trial.                               when the plaintiff otherwise “substantially complied with the
                                                                        [law].”) (quoting    Nev. Equities v. Willard Pease Drilling,
   B. Unjust Enrichment                                                 84 Nev. 300, 440 P.2d 122, 123 (Nev. 1968)). Nevertheless,
Plaintiff argues that if it does not prevail on its breach of           the application of an unclean hands defense is particularly
contract claim, it should recover under its unjust enrichment           compelling when a plaintiff seeks a remedy that violates
theory. (See Pl.’s MSJ, 26:1–27:25). Given that the Court               criminal law. Omstead v. United States, 277 U.S. 438, 484–
would only reach Plaintiff’s alternative unjust enrichment              85, 48 S.Ct. 564, 72 L.Ed. 944 (1945) (rev'd on other grounds)
claim if the Court were to determine the Contract is illegal and        (Brandeis, J., dissenting). “[T]he court’s aid is denied ... when
incapable of severance, the Court concludes that Plaintiff’s            he who seeks it has violated the law in connection with the
unclean hands would bar its recovery for unjust enrichment.             very transaction to which he seeks legal redress ... in order to

Under Nevada law, unjust enrichment claims have the                     maintain respect for law....”    Id.
following three elements: “(1) a benefit conferred on the
defendant by the plaintiff; (2) appreciation by the defendant           *9 Plaintiff cannot prevail for unjust enrichment because the
of such benefit; and (3) an acceptance and retention by the             parties’ Contract involves moral turpitude. 5 If the Contract is
defendant of such benefit under circumstances such that it              unenforceable, it is because Plaintiff invested in Defendants’
would be inequitable for him to retain the benefit without              marijuana cultivation business primarily to obtain a pathway
payment of the value thereof.” Takiguchi v. MRI Int'l, Inc., 47         to an equity investment therein. See § (A)(3), supra. Providing
F. Supp. 3d 1100, 1119 (D. Nev. 2014) (citing Unionamerica              funds in exchange for equity violates the CSA because


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it would allow the investor to profit from the cultivation,
possession, and sale of marijuana. (MTD Order 10:13–23);         The competing motions concern a subpoena Plaintiff served
                                                                 just before the close of discovery (the “Subpoena”).
  21 U.S.C. §§ 841, 846, 856(a)(2). Conspiracy to cultivate
                                                                 Defendants argue that its Motion to Quash should have been
marijuana is a crime of moral turpitude. See, e.g., Collymore
                                                                 granted because: (1) the Subpoena violated the Scheduling
v. Lynch, 828 F.3d 139, 142–46 (2d Cir. 2016);       Desai v.    Order because it was filed on the last day of discovery;
Mukasey, 520 F.3d 762, 764–66 (7th Cir. 2008); In re Sanchez     and, even if timely filed, (2) the Subpoena must be denied
Gomez, 115 D.P.R. 74, 75 (P.R. 1984); People v. Gabriel, 206     under Fed. R. Civ. P. 34 and LR 26-7 because it was not
Cal. App. 4th 450, 459, 141 Cal.Rptr.3d 784 (Cal. Ct. App.       preceded by a “meet and confer.” (Id. 1:28–2:11, 2:22–3:8,
2012).                                                           4:20–6:27, 10:1–28). Alternatively, Defendants argue that,
                                                                 (3) the Subpoena should be denied as overbroad because it
Plaintiff argues that the Court should allow its recovery        seeks information protected by the attorney-client privilege
for unjust enrichment because, “[t]he transaction has been       and work product doctrine. (Id. 7:1–9:26).
completed, Bart Street has never grown or sold marijuana,
Defendants are the only parties involved with marijuana,          *10 The Court finds the Objection lacking. Plaintiff’s
marijuana is legal in Nevada, and allowing Defendants to         Subpoena was timely because, while magistrate judges may
keep the $4.7M would unjustly enrich Defendants at Bart          in their discretion require a subpoena seeking documents
Street’s expense.” (Pl.’s MSJ 27:15–18). It is irrelevant        be filed thirty days before the close of discovery so that
that the Nevada legislature “legalized” marijuana because        compliance may be completed before the scheduling order’s
marijuana is illegal under federal law, and the CSA preempts     discovery deadline, it is not an abuse of discretion to allow
Nevada law under the Constitution’s Supremacy Clause.            a subpoena to be served at a later time within the discovery
    United States v. Nixon, 839 F.3d 885, 888 (9th Cir.          period. Cf. Fabery v. Mid-South Ob-GYN, PLLC, No. 06-2136
2016). In determining whether moral turpitude is involved        D/P, 2008 U.S. Dist. Lexis 39679, 2000 WL 35641544, at
in the transaction, it is not the job of the Court to            *1 (W.D. Tenn. May 15, 2008) (“A subpoena that seeks
weigh the policy considerations behind federal marijuana         documents under Federal Rule of Civil Procedure 45 is a
prohibition against Nevada law and the growing trend of          discovery device subject to the same deadlines as other forms
state “legalization.” Rather, “it is emphatically the province   of discovery set forth in the court’s scheduling order.”).
and duty of the judicial department to say what the law          Judge Ferenbach appropriately acted within his discretion
                                                                 because Plaintiff “first learned about the documents during
is.”    Marbury v. Madison, 5 U.S. 1 Cranch 137, 177, 2          the last week of discovery at Seltzer’s deposition. Due to the
L.Ed. 60 (1803). Allowing Plaintiff’s recovery for unjust        timing of that deposition, it would not have been possible
enrichment would undermine enforcement of federal law by         for Bart Street to request the documents 30 days before the
giving prospective investors increased confidence in funding     discovery deadline.” (Pl.’s Resp. to Defs.’ Obj., 6:27–7:1,
marijuana businesses. The Court may not provide Plaintiff        ECF No. 199). Likewise, while subpoenas generally should
an equitable remedy that would allow Plaintiff to circumvent     be preceded by a meet and confer, it is not an abuse of
federal criminal law in order to recover the proceeds of         discretion for a magistrate judge to enforce a subpoena that
its crime. The Court therefore grants Defendants summary         is served without a preceding meet and confer. See LHF
judgment on Plaintiff’s unjust enrichment claim.                 Prods., Inc. v. Koehly, No. 2:16-cv-02028-JAD-NJK, 2017
                                                                 U.S. Dist. LEXIS 173834, 2017 WL 4767673, at *4 (D. Nev.
                                                                 Oct. 19, 2017) (“These cases make clear that, notwithstanding
   C. Discovery Objection
                                                                 the language of the local rule, ‘the court ultimately retains
On May 5, 2019, United States Magistrate Judge Cam
                                                                 discretion to decide discovery motions even where no proper
Ferenbach entered the Order, (ECF No. 193), granting
                                                                 meet and confer has been conducted.’ ”) (quoting Mielke v.
Plaintiff’s Motion to Establish Protocols for Searching Texts,
                                                                 Standard Metals Processing, Inc., No. 2:14-cv-01763-JCM-
(ECF No. 173), and Counter-Motion to Compel (“Counter-
                                                                 NJK, 2015 U.S. Dist. LEXIS 60000, 2015 WL 2152664, at
Motion”), (ECF No. 178), and Denying Defendants’ Motion
                                                                 *1 (D. Nev. May 7, 2015)).
to Quash, (ECF No. 175). Defendants object to the portions
of the Order granting the Counter-Motion and denying the
                                                                 Finally, the Court concludes that Judge Ferenbach
Motion to Quash. (Obj. 1:25–28, ECF No. 198). The Court
                                                                 appropriately limited the risk that enforcement of
finds no reason to depart from Judge Ferenbach’s Order.


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                                                                      and DENIED in part. The Court grants Defendants’ Motion
the Subpoena would reveal privileged or confidential
                                                                      with respect to Plaintiff’s unjust enrichment claim. The Court
information. Judge Ferenbach Ordered Defendants to provide
                                                                      denies the Motion on Plaintiff’s breach of contract claim.
a privilege log to the extent any information sought is
confidential. (See Order, ECF No. 193). Not only do
                                                                      IT IS FURTHER ORDERED that Defendants’ Objection,
Defendants fail to argue that the safeguard is inadequate, they
                                                                      (ECF No. 198), is DENIED.
do not acknowledge the protection in their Objection. For the
aforementioned reasons, Defendants have not demonstrated
                                                                      IT IS FURTHER ORDERED that the parties shall file their
that Judge Ferenbach’s Order was clearly erroneous, and their
                                                                      proposed joint pretrial order by June 1, 2020.
Objection is denied.

                                                                      IT IS FURTHER ORDERED that pursuant to Local Rule
IV. CONCLUSION                                                        16-5, this case is REFERRED to Magistrate Judge Ferenbach
IT IS HEREBY ORDERED that Plaintiff’s Motion for                      for a settlement conference.
Summary Judgment, (ECF No. 180), is DENIED.

                                                                      All Citations
IT IS FURTHER ORDERED that Defendants’ Motion for
Summary Judgment, (ECF No. 185), is GRANTED in part                   Slip Copy, 2020 WL 1638329




                                                          Footnotes


1      Sean Mullen is the business partner of Steve Idelman (“Idelman”), the principal of Plaintiff Bart Street III, LLC.
       (See Misle Decl. ¶¶ 5, 11, Ex. 1 to Defs.’s MSJ, ECF No. 185-1).
2      Howard Misle is a managing member of Defendant ACC Enterprises, LLC and a director of Defendant ACC
       Industries, Inc. (Misle Decl. ¶ 1).
3      Peter Seltzer is a Rule 30(b)(6) representative for all Defendants. (Seltzer Dep. 1:14–15).
4      As an initial matter, the Court limits its severability analysis to the right of first refusal term, not the operating
       capital term. It is Defendants’ burden to establish the defense of illegality. See         Schwartz v. Schwartz,
       95 Nev. 202, 591 P.2d 1137, 1140 n.2 (Nev. 1979) (noting that a defendant bears the burden to prove an
       affirmative defense). Defendants do not present any evidence that enforcing the operating capital provision is
       essential to the parties’ intent. Rather, Defendants argue that Plaintiff allowed them to use more of the loan for
       operating capital than the First Note earmarks, indicating that Plaintiff cannot recover the additional allowance.
       (Defs.’ MSJ 22:25–23:5); (Defs.’ Resp. to Pl. MSJ 7:9–8:4). The argument only implicates Plaintiff’s potential
       remedy, not the term’s severability. Defendants also argue that Plaintiff’s allowance indicates that the
       earmarks in the Notes are nominal and unenforceable. (See Defs.’ Resp. to Pl.’s MSJ 7:6–8:26). The Court
       finds the argument foreclosed by the statute of frauds. See supra § (A)(1). Thus, Defendants have not argued
       that the operating capital term is inseverable.
5      The Court’s conclusion presupposes that the parties’ Contract is illegal. If the Court concludes that the parties’
       Contract was legal, then Plaintiff will recover for breach of contract. Given that Plaintiff only raises its unjust
       enrichment claim in the alternative, recovery for breach of contract would moot Plaintiff’s unjust enrichment
       theory.


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          Exhibit B
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                                                                        Court to invalidate the parties' agreement under the federal
                                                                        Controlled Substances Act, 21 U.S.C. §§ 801 et seq. Mot.,
      KeyCite Yellow Flag - Negative Treatment                          Dkt. No. 36. Plaintiff and Cross-Defendant Dharminder Mann
Distinguished by Ricatto v. M3 Innovations Unlimited, Inc., S.D.N.Y.,
                                                                        filed an Opposition (Opp'n, Dkt. No. 37), and Gullickson filed
December 6, 2019
                                                                        a Reply (Reply, Dkt. No. 38). The Court held a hearing on the
                  2016 WL 6473215
                                                                        matter on September 1, 2016 (Dkt. No. 41) and then ordered
    Only the Westlaw citation is currently available.
                                                                        Supplemental Briefing (Dkt. No. 42). Having considered the
             United States District Court,
                                                                        parties' positions, relevant legal authority, and the record in
                   N.D. California.
                                                                        this case, the Court DENIES Gullickson's Motion for the
                Dharminder Mann, Plaintiff,                             following reasons.
                             v.
                Sara Gullickson, Defendant.
                     And Cross-Action.                                                       BACKGROUND 1

                  Case No. 15-cv-03630-MEJ                              Around March 2014, Mann sold two businesses to Gullickson
                               |                                        through a Stock Purchase Agreement: (1) Illinois DP, LLC a/
                      Signed 11/02/2016                                 k/a Dispensary Permits.com (“DP”) a consulting business for
                                                                        state-regulated marijuana dispensary or cultivation licenses;
Attorneys and Law Firms
                                                                        and (2) weGrow Enterprises, Inc. (“weGrow”) a franchise
Harvey William Stein, Law Offices of Harvey W. Stein,                   hydroponic retail operation (collectively, the “Companies”).
Oakland, CA, for Plaintiff.                                             Stock Agmt, Dkt. No. 36-3. Gullickson, as consideration,
                                                                        forgave a $10,000 loan to Mann and executed a Promissory
Harry Girard Lewis, Cornerstone Law Group, San Francisco,               Note (“Note”) agreeing to pay Mann an additional $400,000
CA, Jesse R. Callahan, Loose, Brown, Hobkirk, and Callahan,             in three installments. Mann alleges Gullickson has failed to
P.C., Phoenix, AZ, Ryan Mark Ferrell, Newport Trial Group,              make payments as required under the Note. See Note, Dkt.
Newport Beach, CA, for Defendant.                                       No. 36-6 (included with the Complaint and a “Notice of
                                                                        Default of Promissory Note” sent to Gullickson).


               ORDER DENYING MOTION                                     The parties did not spend much time describing the nature
               FOR SUMMARY JUDGMENT                                     of the Companies at issue or the precise nature of their
                                                                        business, but the parties' agreements provide some assistance.
                                                                        The Stock Agreement indicates weGrow is a franchisor
                         Re: Dkt. No. 36                                and its franchisees agree to “operate a retail outlet...that
                                                                        sells hydroponic and related plant growing equipment and
MARIA-ELENA JAMES, United States Magistrate Judge
                                                                        which provides seminars, information and assistance on plant
                                                                        growing techniques (including how to grow cannabis).” Stock
                       INTRODUCTION                                     Agmt., Ex. G-1 (attaching “Franchise Disclosure Agreement”
                                                                        of weGrow), available at ECF p.24. The “market” for
 *1 At its core, this case consists of a simple breach of
                                                                        franchisees' “products and services include “hydroponic
contract claim. But to decide whether the parties' business
                                                                        farming operations, hydroponic hobbyists, and medical
agreement is enforceable, the Court must navigate the conflict
                                                                        marijuana patients.” Id. This agreement further recognizes
created by the prohibition of medical marijuana under
                                                                        that Mann “currently serves as President, the University of
federal law and the legalization medical marijuana under
                                                                        Cannabis (www.UniCann.com), the largest online University
California law. Specifically, this Order addresses whether
                                                                        for medical marijuana in the world” and indicates weGrow
Defendant and Cross-Claimant Sara Gullickson is excused
                                                                        also had a “hydroponic retail outlet” that “provides services
from performing her obligations under a contract formed
                                                                        to assist medical marijuana patients in creating their own
in California because the contract relates to the medical
                                                                        cannabis gardens” including by offering “cannabis seminars”
marijuana industry. Pending before the Court is Gullickson's
                                                                        and “on-site doctors to recommend cannabis cards and on-
Motion for Summary Judgment, in which she asks the
                                                                        site technicians to build [their] customers' grow rooms.”


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Id. at ECF p.25-26. As to DP, a draft agreement entitled        Following the hearing, the Court permitted the parties to
“Dispensary Permits Medical Marijuana Business Plan             address three cases that might impact the Court's analysis
Development and Consulting Services Agreement” indicates
                                                                in this matter:  Bassidji v. Goe, 413 F.3d 928 (9th Cir.
DP's business is to help facilitate the “procurement” of a
                                                                2005); Green Earth Wellness Center, LLC v. Atain Specialty
“medical marijuana dispensary license” for other entities and
                                                                Insurance Co. (Green Earth), 163 F. Supp. 3d 821 (D.
to those other entities to “apply[ ] for and prospectively
open[ ] and operate[ ] a Medical Marijuana Dispensary           Colo. 2016); and      United States v. McIntosh, 833 F.3d
facility.” DP Consulting Agmt. at ECF p.3 & 11, Dkt. No.        1163 (9th Cir. 2016). The Court also allowed the parties to
36-4. A press release indicates DP was formed “to Assist        submit supplemental evidence concerning the nature of the
Entrepreneurs with Opening a Medical Marijuana Dispensary       Companies' businesses sold through the parties' agreements
in Illinois” by assisting them with “obtaining a dispensary     and the status of the parties' performance under those
licenses or cultivation license in Illinois” and providing      agreements. See Order, Dkt. No. 42.
“hands on support to medical marijuana entrepreneurs.” Press
Release, Dkt. No. 36-5. There is no indication in the record    In a newly-filed declaration, Mann explains the “business
these Companies directly grew or sold marijuana.                of WeGrow [ ] dba DispensaryPermits.com, was to provide
                                                                consulting and information services to persons desiring to
 *2 Mann filed this action in California Superior Court on      engage in hydroponic farming” and to “provide consulting
June 4, 2015, which Gullickson removed to this Court on         and documentation preparation services to persons or entities
August 7, 2015. Not. of Removal, Dkt. No. 1; id., Ex. A         desiring to establish medical cannabis dispensaries and
(Compl.). Mann asserts a breach of contract claim, alleging     related businesses in states where such activities were legal.”
Gullickson defaulted on the Note and requests relief in the     Mann Decl. at 2, Dkt. No. 43-1. He contends that “[a]t no time
form of the alleged remaining principal and other remedies      did these companies possess, cultivate or distribute cannabis
permitted by the parties' contracts, including interest and     plants.” Id. Instead, he states “[o]ur income was derived solely
attorneys' fees. Compl. ¶¶ 7, 9-10. Gullickson filed a cross-   from the sale of our consulting services and information packs
complaint on August 7, 2015, asserting claims for breach        and document preparation.” Id. Mann contends Gullickson
of contract, breach of the covenant of good faith and fair      still owes him $225,000, the balance due on the Note and
dealing, conversion, fraud, negligent misrepresentation, and    asserts she continues to own and operate the Companies. Id.
intentional interference with prospective economic relations.   at 3.
Not. of Removal, Ex. C (Cross-Compl.). Gullickson asserts
that, in April 2015, at the direction of Mann, the Companies'   For her part, Gullickson now declares the “intent of
website manager took the DispensaryPermits.com and              the parties” was that Gullickson would make payments
weGrowStore.com websites offline, allegedly resulting in        promised under the promissory note “with revenue derived
substantial missed business opportunities for the Companies.    from operating the marijuana businesses” Mann sold her
Id. ¶ 11.                                                       and that Mann “was aware [she] could not pay for the
                                                                businesses without such businesses generating revenue[.]”
Gullickson filed this summary judgment motion on July           Suppl. Gullickson Decl. ¶ 2, Dkt. No. 44-1. She explains she
21, 2016. See Mot. She contends the parties' agreement is       “had no other means to pay for the businesses.” Id. Gullickson
void ab initio because it relates to medical marijuana, which   also contends she “did not receive what Mann purports to
is still a prohibited substance under the federal Controlled    have sold to [her,]” noting that Mann “represented to [her]
Substances Act (“CSA”), even if legal in the states where the   that the businesses he was selling complied with all applicable
Companies operate and the parties' contracts were formed.       laws.” Id. ¶¶ 4, 8; see also Def.'s Suppl. Reply at 4 (Gullickson
                                                                “clearly states that she did not get what she paid for”) &
See     21 U.S.C. §§ 841(a), 844(a) (prohibiting the use,
                                                                4-5 (arguing the “relief requested by Mann cannot be granted
distribution, possession, or cultivation of any marijuana).
                                                                because it would ‘mandate illegal conduct’ ” as Gullickson
At the hearing on this matter, Gullickson conceded that her
                                                                has “no other means by which to pay Mann” other than
counterclaims would be subject to dismissal if the Court
                                                                with revenue from the businesses), Dkt. No. 47. Gullickson
granted her summary judgment on the basis asserted in her
                                                                does not say whether she plans to continue operating the
motion.
                                                                Companies. She contends “[t]here is no evidence in the
                                                                record that Gullickson knew or should have known of this



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federal prohibition. The evidence is actually the opposite and      genuine issue of fact, where the evidence is not set forth in
undisputed; Gullickson relied on Mann and his attorneys in          the opposing papers with adequate references so that it could
performing such legal analysis.” Def.'s Suppl. Reply at 6;
                                                                    conveniently be found.” Carmen v. S.F. Unified Sch. Dist.,
Suppl. Gullickson Decl. ¶¶ 7-8.
                                                                    237 F.3d 1026, 1031 (9th Cir. 2001). If the nonmoving party
                                                                    fails to make this showing, “the moving party is entitled to
                                                                    a judgment as a matter of law.”      Celotex, 477 U.S. at 323
                    LEGAL STANDARD
                                                                    (internal quotations omitted).
 *3 Summary judgment is proper where the pleadings,
discovery and affidavits demonstrate that there is “no genuine
dispute as to any material fact and [that] the movant is entitled                          DISCUSSION
to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The
party moving for summary judgment bears the initial burden          A. Legality of Medical Marijuana
of identifying those portions of the pleadings, discovery and       California's Compassionate Use Act of 1996 (“CUA”),
affidavits that demonstrate the absence of a genuine issue of           Cal. Health & Safety Code § 11362.5 (added by Initiative
material fact.   Celotex Corp. v. Catrett, 477 U.S. 317, 323        Measure, Prop. 215, as approved by voters on Nov. 5, 1996)
(1986). Material facts are those that may affect the outcome        gives a person who uses marijuana for medical purposes
                                                                    on a physician's recommendation a defense to certain state
of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
                                                                    criminal charges involving the drug, including possession
248 (1986). A dispute as to a material fact is genuine if there
                                                                    (Cal. Health & Safety Code §§ 11357 (unauthorized
is sufficient evidence for a reasonable jury to return a verdict
                                                                    possession), 11362.5(d) (exempting approved patients and
for the nonmoving party. Id.
                                                                    primary caregivers)). In 2004, the state legislature expanded
                                                                    the criminal immunities in the CUA through the Medical
Where the moving party will have the burden of proof on
                                                                    Marijuana Program (“MMP”) (Cal. Health & Safety Code
an issue at trial, it must affirmatively demonstrate that no
                                                                    §§ 11362.7 et seq.). “Among other things, these statutes
reasonable trier of fact could find other than for the moving
                                                                    exempt the ‘collective[ ] or cooperative[ ]...cultiva[tion]’ of
party.    Soremekun v. Thrifty Payless, Inc., 509 F.3d 978,         medical marijuana by qualified patients and their designated
984 (9th Cir. 2007). On an issue where the nonmoving party          caregivers from prosecution or abatement under specified
will bear the burden of proof at trial, the moving party can        state criminal and nuisance laws that would otherwise
prevail merely by pointing out to the district court that there     prohibit those activities.” The Kind & Compassionate v. City
is an absence of evidence to support the nonmoving party's          of Long Beach, 2 Cal. App. 5th 116, 120 (2016) (quotations
                                                                    omitted; edits in original).
case.    Celotex, 477 U.S. at 324-25.

                                                                    Federal law, however, continues to prohibit marijuana, even
If the moving party meets its initial burden, the opposing party
must then set forth specific facts showing that there is some       by medical users. See        21 U.S.C. §§ 812 (controlled
genuine issue for trial in order to defeat the motion. Fed. R.
                                                                    substances), 844(a) (penalties);   Gonzales v. Raich, 545
Civ. P. 56(e);   Anderson, 477 U.S. at 250. All reasonable          U.S. 1, 26-29 (2005) (Congress' plenary power under
inferences must be drawn in the light most favorable to the         the Commerce Clause includes the power to prohibit
                                                                    the local cultivation and use of marijuana in compliance
nonmoving party.       Olsen v. Idaho State Bd. of Med., 363
                                                                    with CUA's medicinal use provisions; “The Supremacy
F.3d 916, 922 (9th Cir. 2004). However, it is not the task of the
                                                                    Clause unambiguously provides that if there is any conflict
Court to scour the record in search of a genuine issue of triable
                                                                    between federal and state law, federal law shall prevail.”);
fact.  Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996).
                                                                       United States v. Oakland Cannabis Buyers' Coop., 532
The Court “rel[ies] on the nonmoving party to identify with
                                                                    U.S. 483, 491-95 (2001) (medical necessity not a defense
reasonable particularity the evidence that precludes summary
                                                                    to manufacturing and distributing marijuana). Marijuana is
judgment.” Id.; see also Simmons v. Navajo Cty., Ariz., 609
                                                                    a schedule-I controlled substance under the CSA. See     21
F.3d 1011, 1017 (9th Cir. 2010). Thus, “[t]he district court
                                                                    U.S.C. § 802(6) (defining a controlled substance to include
need not examine the entire file for evidence establishing a


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any drug or substance “included in schedule I...of part B         shrubs, and other plants.” Id. When USAA refused to pay
                                                                  the full amount claims for the loss, the plaintiff sued for
of this subchapter.”);     id. § 812(c), Schedule I at (c)
                                                                  breach of contract. Id. The district court ultimately found that
(10). “By classifying marijuana as a Schedule I drug, as
                                                                  Hawaii law permitted courts to decline enforcing contracts
opposed to listing it on a lesser schedule, the manufacture,
                                                                  where doing so would require a party to violate federal law,
distribution, or possession of marijuana became a criminal
                                                                  on the ground that such a result would be contrary to public
offense, with the sole exception being use of the drug as
part of a Food and Drug Administration preapproved research       policy.    Id. at *10-13. The court consequently held that
                                                                  “[t]o require Defendant to pay insurance proceeds for the
study.”    Gonzales, 545 U.S. at 14 (citations omitted).
                                                                  replacement of medical marijuana plants would be contrary
The first section of the CSA declares that “[t]he illegal
                                                                  to federal law and public policy, as reflected in the CSA,
importation, manufacture, distribution, and possession and
improper use of controlled substances have a substantial and      Gonzales, and its progeny.”      Id. at *13.
detrimental effect on the health and general welfare of the
American people.” 21 U.S.C. § 801(2). California's enactment      Federal policy has only become less clear since Tracy. As
of CUA and the MMP does not affect the fact that marijuana,       one court in this district recognized, a recent “directive of
including medical marijuana, is prohibited under the CSA.         Congress in Section 538 of the Consolidated and Further
                                                                  Continuing Appropriations Act of 2015, Pub. L. 113-235, 128
See    McIntosh, 833 F.3d at 1176 (reiterating that “the CSA
prohibits what the State Medical Marijuana Laws permit”);         Stat. 2130 (2014) (‘2015 Appropriations Act’), [ ] ...prohibits
                                                                  the Department of Justice [DOJ] from expending any funds
see also    Ross v. RagingWire Telecomms., Inc., 42 Cal. 4th
                                                                  in connection with the enforcement of any law that interferes
920, 926 (2008) (“No state law could completely legalize
                                                                  with California's ability to ‘implement [its] own State
marijuana for medical purposes because the drug remains
                                                                  law[ ] that authorize[s] the use, distribution, possession,
illegal under federal law” (citations omitted)).
                                                                  or cultivation of medical marijuana.’ ”     United States of
 *4 Nevertheless, federal policy regarding enforcement of         Am. v. Marin All. for Med. Marijuana, 139 F. Supp. 3d
the CSA has been less than clear since 2009. See Green            1039, 1040 (N.D. Cal. 2015), appeal dismissed (Apr. 12,
Earth, 163 F. Supp. 3d at 832 (finding federal government has     2016) (citing 2015 Appropriations Act § 538; some brackets
given “conflicting signals...regarding marijuana regulation       in original) (interpreting § 538 to preclude enforcement of
and enforcement since 2009”); see also id. n.7 (collecting,       a permanent injunction prohibiting distribution of medical
among other things, a memorandum from the United States           marijuana by a dispensary to the extent it complied with
Attorney General's Office concerning shifting priorities of       California law). Even more recently, Congress enacted §
CSA enforcement efforts for medical marijuana since 2009          542 of the Consolidated Appropriations Act, 2016, Pub.
in states that regulate medical marijuana use and cultivation);   L. No. 114-113, 129 Stat. 2242, 2332-33 (2015), which
Opp'n at 8 (referencing similar instances demonstrating           “prohibits DOJ from spending money on actions that prevent
ambiguous actions by the federal government). Since that          the Medical Marijuana States' giving practical effect to their
time, courts have grappled with how to resolve conflicts in       state laws that authorize the use, distribution, possession,
states that authorized the use of medical marijuana.              or cultivation of medical marijuana.”    McIntosh, 833 F.3d
                                                                  at 1176-78 (holding that “at a minimum, § 542 prohibits
In Tracy v. USAA Casualty Insurance Co., the District Court       DOJ from spending funds from relevant appropriations acts
of Hawaii ultimately granted Defendant USAA's summary             for the prosecution of individuals who engaged in conduct
judgment motion “because the cultivation of marijuana, even       permitted by the State Medical Marijuana Laws and who fully
for the State-authorized medical use, violates federal law and    complied with such laws” and “prohibits the Department of
the enforcement of an insurance policy under the particular       Justice from preventing the implementation of the Medical
circumstances of this case is contrary to public policy[.]”       Marijuana States' laws or sets of rules and only those rules
   2012 WL 928186, at *1 (D. Haw. Mar. 16, 2012). The             that authorize medical marijuana use.”). 2
plaintiff allegedly grew marijuana plants for medical use and
when several of these plants were stolen, she attempted to         *5 In Green Earth Wellness Center, LLC v. Atain Specialty
seek coverage as part of her homeowner's insurance policy         Insurance Co., a district court addressed a breach of contract
with USAA, which included coverage for loss to “trees,            claim against this backdrop. 163 F. Supp. 3d at 823. Green



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Earth operated a medical marijuana business, for which Atain
                                                                  1; see also      Bassidji, 413 F.3d at 933 (where subject-
provided commercial liability insurance. Id. Green Earth
                                                                  matter jurisdiction is based on parties' diversity of citizenship,
made two claims under its policy, both of which Atain
                                                                  courts apply the choice-of-law principles of the forum state);
denied. Id. The first claim was for damage to Green Earth's
                                                                  Kashani v. Tsann Kuen China Enter. Co., 118 Cal. App. 4th
marijuana plants as a result of a wildfire; the second was
                                                                  531, 543 (2004) (“When...the parties have not designated an
for the theft of some of its marijuana plants. Id. Green Earth
                                                                  applicable law, courts have applied the law of the place of
sued Atain for breach of contract, among other things. Id.
                                                                  contracting or the place of performance in determining the
at 824. Atain moved for summary judgment, arguing public
                                                                  legality of the contract.”).
policy based on the federal prohibition on marijuana required
denying coverage for Green Earth's losses. Id. at 826-27.
                                                                  That said, where a party challenges enforcement of a contract
While the court acknowledged Tracy, it ultimately declined to
                                                                  based on the defense of illegality under federal law, there
follow that case, noting that “the nominal federal prohibition
                                                                  is some question about whether to apply state or federal
against possession of marijuana conceals a...nuanced (and
perhaps even erratic) expression of federal Policy.” Id. at       law. See       Bassidji, 413 F.3d at 935-36. The parties did
832, 835. The Green Earth court explained that “in light of       not directly address this dispute in their papers. Nonetheless,
several additional years [since Tracy] evidencing a continued     the Court need not conclusively resolve the matter here. For
erosion of any clear and consistent federal public policy in      purposes of ruling on this Motion, the Court is bound by
this area,....the Court declines Atain's indirect invitation to   the Ninth Circuit's recognition that “[b]oth federal law and
declare the Policy void on public policy grounds” and found       California law begin from the core proposition that whatever
that “Atain, having entered into the Policy of its own will,      flexibility may otherwise exist with regard to the enforcement
knowingly and intelligently, is obligated to comply with its      of ‘illegal’ contracts, courts will not order a party to a contract
terms or pay damages for having breached it.” Id. at 835.         to perform an act that is in direct violation of a positive law
The court consequently denied Atain's summary judgment            directive, even if that party has agreed, for consideration, to
motion.                                                           perform that act.”     Id. at 936.

To be clear, the Ninth Circuit has recently clearly stated        Under California law, a contract must have a “lawful object.”
that “[a]nyone in any state who possesses, distributes, or        Cal. Civ. Code § 1550(3). “The object of a contract is the
manufactures marijuana for medical or recreational purposes       thing which it is agreed, on the part of the party receiving
(or attempts or conspires to do so) is committing a federal       the consideration, to do or not to do.” Id. § 1595. Contracts
crime” under the CSA.       McIntosh, 833 F.3d at 1179 n.5;       without a lawful object are void. Id. § 1598.         California
see also   Nixon, 2016 WL 6068201, at *2 (citing McIntosh         Civil Code section 1668 provides that a contract that has as
for the same proposition). But it is against the foregoing        its object a violation of law is “against the policy of the law.”
backdrop, with the seemingly “continued erosion of any clear      Civil Code section 1667 elaborates that “unlawful” means:
and consistent federal public policy in this area[,]” that the    “1. Contrary to an express provision of law; [¶] 2. Contrary
Court must decide whether these contracts are enforceable.        to the policy of express law, though not expressly prohibited;
                                                                  or, [¶] 3. Otherwise contrary to good morals.” See also id.
                                                                  § 1441 (“A condition in a contract, the fulfillment of which
B. Framework for Assessing Enforceability of “Illegal”            is....unlawful...is void”). California courts have held that a
Contracts                                                         lawful contract “must not be in conflict either with express
Neither party explicitly addressed the choice of law issues       statutes or public policy”—as a corollary, “[a] contract that
associated with this case, but there is no dispute that           conflicts with an express provision of the law is illegal and
California law appropriately governs. The parties' Stock          the rights thereto cannot be judicially enforced.” Vierra v.
Agreement states it shall be governed by and construed under      Workers' Comp. Appeals Bd., 154 Cal. App. 4th 1142, 1148
California law (Stock Agreement ¶ 8.1), and the Note likewise
                                                                  (2007) (citations omitted); see also    Armendariz v. Found.
states it “will be construed and enforced in accordance with
                                                                  Health Psychcare Servs., Inc., 24 Cal. 4th 83, 124 (2000) (“If
California law, except to the extent that Federal laws pre-empt
                                                                  the central purpose of the contract is tainted with illegality,
state law” (Note ¶ 12). In any event, the place of performance
                                                                  then the contract as a whole cannot be enforced.”).
for these contracts is California, and thus California law
properly applies. See Stock Agreement ¶¶ 2.3, 5; Note ¶


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 *6 “California law includes federal law” and thus, “a              & Assocs., Inc. v. Larry Barrett, Inc., 7 Cal. 3d 695, 703
violation of federal law is a violation of law for purposes         (1972)) (finding in that case that “[e]ven if a determination of
of determining whether or not a contract is unenforceable as        enforceability of patently illegal contracts can be based on the
contrary to the public policy of California.” Kashani, 118 Cal.     particular facts, plaintiffs have not established any basis for
App. 4th at 543 (citing People ex rel. Happell v. Sischo, 23        departing from the practice of courts generally not to enforce
Cal. 2d 478, 491 (1943) (federal law is “the supreme law of         a contract in violation of law.”).
the land (U.S. Const., art. VI, sec. 2) to the same extent as
though expressly written into every state law”)). Gullickson        In another case, the California Supreme Court similarly
urges the Court to use this rule to void the parties' contracts     found that “[i]n compelling cases, illegal contracts will be
entirely—but both California courts and the Ninth Circuit           enforced in order to ‘avoid unjust enrichment to a defendant
have applied a more nuanced approach.                               and a disproportionately harsh penalty upon the plaintiff.’
                                                                    ” Asdourian v. Araj, 38 Cal. 3d 276, 292 (1985) (quoting
In Kashani v. Tsann Kuen China Enterprise Co., a California
                                                                    Southfield v. Barrett, 13 Cal. App. 3d 290, 294 (1970)).
Court of Appeal affirmed the trial court's grant of summary
                                                                    The Asdourian Court recognized that “ ‘[i]n each case, the
judgment to the defendants argued that the parties' contract
                                                                    extent of enforceability and the kind of remedy granted
was unenforceable as it was illegal and against public policy
                                                                    depend upon a variety of factors, including the policy of
because it involved trade and commerce with Iran. 118 Cal.
                                                                    the transgressed law, the kind of illegality and the particular
App. 4th at 540. In doing so, however, the Court of Appeal
                                                                    facts.’ ” Id. (quoting South Tahoe Gas Co. v. Hofmann Land
did not hold that any agreement that involves an illegal
                                                                    Improvement Co., 25 Cal. App. 3d 750, 759 (1972)). While
contract is necessarily void. On the contrary, it recognized that
                                                                    the Asdourian Court recognized California adheres to the
“[c]ourts in California have, depending on the facts, carved
                                                                    “well-settled rule that the courts will not aid a party whose
out exceptions to the statutory and judicial language that
illegal contracts are void and unenforceable.” Id. at 541-42        claim for relief rests on an illegal transaction[,]”   Wong, 39
(collecting cases). The court found that “[t]hese authorities       Cal. 3d 126, it found that “[t]his rule is based on the rationale
give examples of illegal contracts that can be enforced.”           that ‘the public importance of discouraging such prohibited
Id. at 559 n.6. Moreover, the court recognized that one of          transactions outweighs equitable considerations of possible
the principles courts apply in deciding whether an illegal          injustice between the parties.’ ”  Asdourian, 38 Cal. 3d at
contract can be enforced is whether a party calls on a court        291 (quoting Southfield, 13 Cal. App. 3d at 294).
to order another party to carry out an illegal object.Id. at
540 (citing     Wong v. Tenneco, Inc., 39 Cal. 3d 126, 135           *7 In Bassidji v. Goe, the Ninth Circuit considered a breach
(1985) (“No principle of law is better settled than that a          of contract action in which enforcement of the contract
party to an illegal contract cannot come into a court of law        would have furthered trade with an Iranian company in
and ask to have his illegal objects carried out...” (quotations     contravention of a federal Executive Order.          413 F.3d
omitted; ellipsis in Kashani)); Lewis & Queen v. N.M. Ball          at 928-39. The Ninth Circuit analyzed federal case law
Sons, 48 Cal. 2d 141, 150 (1957) (“[T]he courts generally           and California precedents, including Kashani, to investigate
will not enforce an illegal bargain or lend their assistance        “[n]uanced approaches to the illegal contract defense, taking
to a party who seeks compensation for an illegal act.”)).           into account such considerations as the avoidance of windfalls
The court, however, recognized that “[a]lthough the courts          or forfeitures, deterrence of illegal conduct, and relative
generally will not enforce an illegal contract, in some cases       moral culpability,” and those considerations “remain viable
the statute making the conduct illegal, in providing for a          in federal court and represent no departure from [federal
fine or administrative discipline, excludes by implication the      precedent]...[so] long as the relief ordered does not mandate
additional penalty involved in holding the illegal contract         illegal conduct.”     Id. at 937-38. 3 The Court ultimately
unenforceable [citation]. Sometimes the forfeiture resulting        concluded that enforcement of the contract would mandate
from unenforceability is disproportionately harsh considering       illegal conduct because requiring the defendant to pay the
the nature of the illegality. ‘In each such case, how the aims of   plaintiff “would provide funds to the Iranian economy, paying
policy can best be achieved depends on the kinds of illegality      for goods in Iran[,]” in direct contravention of a federal
and the particular facts involved.’ ” Id. at 557 (brackets
and emphasis in original) (quoting M. Arthur Gensler, Jr.,          Executive Order.      Id. at 939. In doing so, the Ninth
                                                                    Circuit indicated when assessing the enforceability of “illegal


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contracts,” courts should consider whether a remedy exists         these businesses are Gullickson's only livelihood, she has not
“that would not require a court to order a legal violation.” Id.   shown the only way to operate them is in a way that violates
                                                                   the CSA. In other words, if the Court ordered payment,
The foregoing case law demonstrates that even where                and Gullickson's only way to pay was by making these
contracts concern illegal objects, where it is possible for a      businesses operational, that situation would not necessarily
court to enforce a contract in a way that does not require         require Gullickson to be involved in the medical marijuana
illegal conduct, the court is not barred from according such       industry; Gullickson has not shown otherwise. Thus, unlike
relief. However, if, as in Bassidji, the enforcement of a          Bassidji, ordering payment on the parties' contract would
contract would require the court to order illegal conduct, such
                                                                   not mandate illegal conduct. 4 Cf.      In re Medpoint Mgmt.,
contracts are unenforceable. This Court must therefore assess
                                                                   LLC, 528 B.R. 178, 186 (Bankr. D. Ariz. 2015), vacated in
whether a remedy exists that would not require it to order a
                                                                   part on other ground, 2016 WL 3251581 (B.A.P. 9th Cir.
violation of the CSA.
                                                                   June 3, 2016) ( “[t]he Court will not enter an order for relief
                                                                   which would then result in the appointed chapter 7 trustee
C. Legality of a Remedy                                            necessarily violating federal law (the CSA) in carrying out
Gullickson contends the contracts are for “marijuana               his or her duties under the [Bankruptcy] Code” where United
businesses” and that enforcing the contract “would ‘mandate        States Trustee stated there were no legal, non-marijuana assets
illegal conduct’ (the operation of the medical marijuana           a trustee could lawfully operate and administer);    Tracy,
businesses)” because “she has no other means” to pay               2012 WL 928186, at *13 (declining to order defendant to pay
Mann other than to operate the businesses. Def.'s Suppl.           for the replacement of medical marijuana plants).
Reply at 4-5. Mann, however, contends the contracts do not
“provide or even contemplate that any party to the contract         *8 In a more nuanced approach, Gullickson suggests that
will possess, distribute or cultivate marijuana, medical or        if the Court enforces the agreement it would be “condoning
otherwise.” Pl.'s Suppl. Br. at 2, Dkt. No. 45. He asserts         and encouraging” illegal conduct. Def.'s Suppl. Reply at
the contracts “only provide[ ] for consultation services           4-5 (“[I]t is axiomatic that enforcing the contract would
and providing information” and only in jurisdictions where         flash a green light to any persons concerned about whether
medical marijuana is legal. Id. at 2-3. At the hearing, Mann's     they should start helping others cultivate, manufacture, sell
attorney also raised First Amendment concerns, indicating          and distribute marijuana. A federal court enforcing these
freedom of speech protects the businesses' activities of           contracts would therefore only encourage commerce related
providing information and consultation services in this field.     to marijuana.”). But again, the Court finds no merit to this
                                                                   argument. Enforcing the contract in this case is not endorsing
Having reviewed the materials in the record, the Court             the cultivation, possession, or distribution of marijuana. It
finds it could grant relief in this case that does not require     is not making broad pronouncements about that any and all
Gullickson to violate the CSA. Mann's suit seeks Gullickson's      contracts related to marijuana or medical marijuana will be
full payment for the businesses he sold to her. Mandating that     enforceable. 5 Rather, considering the particular facts and
payment does not require Gullickson to possess, cultivate, or      circumstances of this case, the Court finds no reason why the
distribute marijuana, or to in any other way require her to        parties' agreement would not be enforceable.
violate the CSA. Cf.       Bassidji, 413 F.3d at 939 (enforcing
contract by forcing defendant to pay the plaintiff would           Even if the object of the agreement were illegal, “[i]n
violate the Executive Order because it would “provide funds        compelling cases, illegal contracts will be enforced in
to the Iranian economy, paying for goods in Iran”). Gullickson     order to ‘avoid unjust enrichment to a defendant and
attempts to argue otherwise by suggesting “she has no other        a disproportionately harsh penalty upon the plaintiff.’ ”
means” to pay Mann other than to operate the Companies.               Asdourian, 38 Cal. 3d at 292 (quoting Southfield, 13 Cal.
Def.'s Suppl. Reply at 4. But this argument fails for at           App. 3d at 294). Courts also consider “the avoidance of
least two reasons. First, semantically Gullickson's declaration    windfalls or forfeitures, deterrence of illegal conduct, and
only says that she “had no other means to the pay for the
businesses” (Suppl. Gullickson Decl. ¶ 2 (emphasis added))         relative moral culpability[.]” Bassidji, 413 F.3d at 937-38.
— there is no evidence in the record that she currently has        Questions of fact remain as to whether Gullickson's avoidance
no other means to pay for the Companies. Second, even if           of the agreement would result in her unjust enrichment. There



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is no dispute that she has not yet paid full amount on the        “will have received only a fraction of the sales price and be
contract. See Mann Decl. at 3; Suppl. Gullickson Decl. ¶          left with no remedy to recover the valuable assets he sold.”).
3. Additionally, there is no indication Gullickson plans to       While the nature of the businesses may indirectly involve
abandon these businesses. Rather, Gullickson attests she has      medical marijuana, other potentially illicit conduct would be
spent in excess of $50,000 to rebuild the companies' websites,    deterred if the agreement was enforced, i.e., nonpayment for
Suppl. Gullickson Decl. ¶ 5, which could reasonably indicate      services rendered pursuant to a contract.
she plans on maintaining them. Moreover, given the ever-
changing political climate concerning medical marijuana—          Finally, as the California Supreme Court acknowledged in
and marijuana in general 6 —as well the federal government's      Asdourian, “ ‘the extent of enforceability...depend[s] upon a
current lack enforcement of the CSA in Medical Marijuana          variety of factors, including the policy of the transgressed
States, the Court cannot ignore the potential likelihood of a     law, the kind of illegality and the particular facts.’ ”   38
windfall for Gullickson if she is able to dodge the contract at   Cal. 3d at 292 (quotation omitted). The federal government's
this point. A reasonable trier of fact could find Gullickson is   concern over the CSA's medical marijuana prohibition has
likely to be unjustly enriched if the parties' agreement is not   waned in recent years, and the underlying policy purporting to
enforced.
                                                                  support this prohibition has been undermined. See Conant,
                                                                  309 F.3d at 641-42 (Kozinski, J., concurring) (discussing
As to moral culpability, while Gullickson contends she acted
                                                                  uses and benefits of medical marijuana). Several states and
without a lawyer and on the advice of Mann's counsel, this
                                                                  territories have set up systems authorizing and regulating
does not absolve her of responsibility. As any first year law
                                                                  the use, possession, distribution, and cultivation of medical
student is taught, ignorantia juris non excusat—“Ignorance
of the Law is no excuse.” The record here also leaves no          marijuana. See       McIntosh, 833 F.3d at 1179 n.3 (listing
doubt that Gullickson knew—or should have known—that              43 jurisdictions permitting medical marijuana). As McIntosh
marijuana was illegal under federal law. Indeed, the Stock        acknowledges, the federal government is currently proscribed
Agreement with its Franchise Disclosure Agreement, which          from enforcing the CSA in these jurisdictions, which have
Gullickson repeatedly cites, notes that “the sale of cannabis     independently determined that marijuana has a medical
for medicinal or other purposes is...not permitted in the         benefit for their citizens. Indeed, California has found that
majority of states and or under federal law.” See Stock Agmt.,    “seriously ill Californians have the right to obtain and
Ex. G-1 (attaching “Franchise Disclosure Agreement” of            use marijuana for medical purposes where that medical
                                                                  use is deemed appropriate and has been recommended by
weGrow), available at ECF p.25; see also        In re Medpoint,
                                                                  a physician who has determined that the person's health
528 B.R. at 187 (“Medpoint did not dupe [its creditors]
                                                                  would benefit from the use of marijuana in the treatment of
into entering the medical marijuana business. [They] signed
                                                                  cancer, anorexia, AIDS, chronic pain, spasticity, glaucoma,
various loan or other documents which expressly stated that
                                                                  arthritis, migraine, or any other illness for which marijuana
Medpoint was in the medical marijuana business and that,
under federal law, the production, marketing and sale of          provides relief.”     Cal. Health & Safety Code § 11362.5(b)
marijuana was and remains illegal.”). A reasonable jury could     (1)(A). Given the federal government's wavering policy on
find that moral culpability lies with both parties.               medical marijuana in states that regulate this substance, and
                                                                  California's expressed policy interest in allowing qualified
 *9 The “deterrence of illegal conduct” factor likewise           patients to obtain medical marijuana, the purported illegality
favors enforcement of the agreement. Gullickson herself           here is not one the Court finds to mandate non-enforcement
disputes whether she received the benefit of the bargain of       of the parties' contract.
the parties' agreement, arguing Mann did not perform as
required by the contract and induced her into the contract with
misrepresentations about the Massachusetts market. Suppl.
                                                                                        CONCLUSION
Gullickson Decl. ¶ 3; Cross-Compl. ¶¶ 11-12, 15, 20. If
these allegations are true, Mann stands to gain from unlawful     Based on the analysis above, the Court hereby DENIES
conduct. And the same may be true if Gullickson is permitted      Gullickson's Motion for Summary Judgment. The parties
to avoid complete payment under the contract. See Opp'n at 10     shall meet and confer and file a joint Case Management
(“[Gullickson] will have escaped the obligation of paying the     Statement by November 10, 2016.
Plaintiff $225,000 for the business she purchased” and Mann


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                                                              All Citations
IT IS SO ORDERED.
                                                              Not Reported in F.Supp.3d, 2016 WL 6473215

Dated: November 2, 2016.




                                                     Footnotes


1     The following facts are undisputed for summary judgment purposes, unless otherwise noted.
2     Plaintiff argues the DOJ “is prohibited by statute from interfering with the business [Gullickson] purchased
      from Plaintiff.” Opp'n at 6. As the Ninth Circuit acknowledged, however, “Congress could restore funding
      tomorrow, a year from now, or four years from now, and the government could then prosecute individuals
      who committed offenses while the government lacked funding.”            McIntosh, 833 F.3d at 1179 n.5; see also
      United States v. Nixon, No. 16-50097, ___ F.3d ____, 2016 WL 6068201, at *2 (9th Cir. Oct. 17, 2016) (“On
      its face, the appropriations rider restricts only the DOJ's ability to use certain funds on particular prosecutions
      during a specific fiscal year.”).
3
      The Ninth Circuit's decision relied heavily on Supreme Court's opinion in   Kaiser Steel Corp. v. Mullins, 455
      U.S. 72 (1982). As the Ninth Circuit acknowledges, Kaiser Steel considered “the difference between cases in
      which the courts are asked to order an illegal act and cases in which the relief sought does not seek directly
      to order illegal activity.” Bassidji, 413 F.3d at 936 (citing   Kaiser Steel, 455 U.S. at 79-80); see   Kaiser
      Steel, 455 U.S. at 79 (indicating the question was whether Kaiser Steel's promise to contribute “could be
      enforced without commanding unlawful conduct.”).
4     A fundamental difference between this case and Bassidji is that object of the contract here is not necessarily
      illegal. The parties agreed Gullickson would pay Mann to purchase the Companies, which provide “consulting
      and information services to persons desiring to engage in hydroponic farming” and “consulting and
      documentation preparation services to persons or entities desiring to establish medical cannabis dispensaries
      and related businesses in states where such activities were legal.” Mann Decl. at 2. There is no evidence in
      the record that the Companies actually possess, use, cultivate, or distribute marijuana—medical or otherwise.
      Moreover, while Gullickson argues the businesses “conspire” to do so (Def.'s Suppl. Reply at 6), this so-
      called conspiracy is appears to be based entirely on providing information to customers. See Opp'n at 9
      & 10 (“No authority is presented for the proposition that it is illegal to provide information only concerning
      medical marijuana”); see also id. at 5 (discussing cases concerning potential limitations on aiding-and-
      abetting theory). In Conant v. Walters, the Ninth Circuit affirmed an injunction prohibiting federal officials
      from revoking a physician's registration, or even investigating a physician's conduct, based on the physician's
      recommendation that a patient use marijuana.   309 F.3d 629, 639 (9th Cir. 2002) (indicating rejection
      of government's argument that a doctor's “recommendation” of marijuana encourages illegal conduct by
      the patient), cert. deniedWalters v. Conant, 540 U.S. 946 (2003); see also    Thomas v. Collins, 323 U.S.
      516, 535 (1945) (on First Amendment grounds, striking down a statute criminalizing solicitation of union
      membership without state license because the statute did not distinguish between solicitation and advocacy
      and so “put[ ] the speaker...wholly at the mercy...of his hearers and consequently of whatever inference
      may be drawn as to his intent and meaning”);        White v. Lee, 227 F.3d 1214, 1228 (9th Cir. 2000) (“We
      need not decide whether the plaintiffs' primary objective...would have involved an unlawful act. The mere fact
      that citizens urge their government to adopt measures that may be unlawful does not deprive the speech
      involved of its First Amendment protection.”). If the government regulated such speech related to medical



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      marijuana, courts would have to consider the “governmental interest at stake” to help “determine whether
      [such] a restriction on that expression is valid.” Texas v. Johnson, 491 U.S. 397, 406-07 (1989). The parties
      did not specifically brief the First Amendment issue, but the Court is not convinced at this point that the object
      of the parties' contract is necessarily illegal.
5     The Court is cognizant of the difficulties businesses and individuals in the medical marijuana industry face
      given the tenuous legal environment surrounding this subject matter; indeed, the typical legal protections may
      be unavailable to such businesses and individuals in many circumstances. See Sam Kamin & Viva R. Moffat,
      Trademark Laundering, Useless Patents, and Other Ip Challenges for the Marijuana Industry, 73 Wash. &
      Lee L. Rev. 217 (2016) (discussing challenges for businesses operating in the medical marijuana industry.
6     See, e.g., Col. Const. art. XVIII, § 16 (Personal Use and Regulation of Marijuana); see also Cal. Prop. 64
      (“Marijuana Legalization Initiative” on ballot for 2016 election).


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          Exhibit C
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     KeyCite Yellow Flag - Negative Treatment
Declined to Follow by Green Earth Wellness Center, LLC v. Atain Specialty                           BACKGROUND
Insurance Company, D.Colo., February 17, 2016
                  2012 WL 928186                                            Plaintiff filed the instant action in the Circuit Court of the
    Only the Westlaw citation is currently available.                       Third Circuit, State of Hawai‘i, on July 11, 2011. Defendant
       United States District Court, D. Hawai'i.                            removed the action on August 10, 2011, based on diversity
                                                                            jurisdiction.
                   Barbara TRACY, Plaintiff,
                          v.                                                Plaintiff's Complaint alleges that Defendant breached the
               USAA CASUALTY INSURANCE                                      parties' insurance coverage contract by failing to pay
                  COMPANY, Defendant.                                       Plaintiff's insurance claims for stolen property. Plaintiff, who
                                                                            owns and resides at a property in the Puna District of the State
                 Civil No. 11–00487 LEK–KSC.                                and County of Hawai‘i, purchased a homeowners insurance
                                |                                           policy from Defendant (“the Policy”) on May 18, 2010.
                        March 16, 2012.                                     [Complaint at ¶¶ 1, 5.] On or about July 30, 2010, twelve
                                                                            plants were stolen from Plaintiff's property. Nine of the twelve
Attorneys and Law Firms                                                     plants were fully matured cannabis sativa, commonly known
                                                                            as marijuana plants. The remaining three plants were less
Ivan L. Van Leer, Pahoa, HI, for Plaintiff.
                                                                            mature plants. [Id. at ¶ 7.] Plaintiff states that she “lawfully
Kevin P.H. Sumida, Ward F.N. Fujimoto, Kevin Sumida &                       possessed, grew, nurtured and cultivated the plants consistent
Associates, Honolulu, HI, for Defendant.                                    with the laws of the State of Hawaii ... permitt[ing] individuals
                                                                            to possess and grow marijuana for medical purposes[.]” [Id.
                                                                            at ¶ 12(b). 1 ]
           ORDER GRANTING DEFENDANT'S
          MOTION FOR SUMMARY JUDGMENT                                       Plaintiff asserts that she is entitled to coverage under the
                                                                            Policy for the loss of these plants because the Policy includes
LESLIE E. KOBAYASHI, District Judge.                                        coverage for loss to “ ‘trees, shrubs, and other plants.’ “ [Id . at
                                                                            ¶ 8 (quoting Policy, Replacement Cost Coverage—Personal
 *1 Before the Court is Defendant USAA Casualty Insurance                   Property HO–728 (08–97) at ¶ 3).] Plaintiff alleges that she
Company's (“Defendant”) Motion for Summary Judgment                         notified Defendant of the loss of the twelve plants, presenting
(“Motion”), filed on October 20, 2011. Plaintiff Barbara                    a claim of $4,000 for each mature plant and $3,200 for each of
Tracy (“Plaintiff”) filed her memorandum in opposition on                   the less mature plants, for a total of $45,600. [Id. at ¶¶ 9–10 .]
January 10, 2012, and Defendant filed its reply on January 13,              Defendant initially agreed to pay Plaintiff's claim and issued
2012. This matter came on for hearing on January 30, 2012.                  a payment to Plaintiff for the loss, but Plaintiff claimed that
Appearing on behalf of Defendant was Ward Fujimoto, Esq.,                   the amount was insufficient. [Id. at ¶ 12(e).]
and appearing on behalf of Plaintiff was Ivan Van Leer, Esq.
Plaintiff filed her Supplemental Declaration in Opposition                  Plaintiff alleges that, on or about May 27, 2011, Defendant
(“Plaintiff's Supplemental Declaration”) on February 6, 2012,               notified Plaintiff that it would not make any further
and Defendant filed its Supplemental Reply Memorandum                       payment for the loss because Plaintiff did not have an
in Support of Its Motion for Summary Judgment [ECF No.                      insurable interest in the plants, which could not be lawfully
13] (“Supplemental Reply”) on February 9, 2012. After                       replaced. Plaintiff argues that Defendant could have inspected
careful consideration of the Motion, supporting and opposing                Plaintiff's property at any time during the Policy period, and
documents, and the arguments of counsel, Defendant's                        Defendant had notice that Hawai‘i law permits individuals
Motion is HEREBY GRANTED because the cultivation of                         such as Plaintiff to lawfully grow marijuana for medical
marijuana, even for the State-authorized medical use, violates              purposes. [Id. at ¶¶ 11–12(c).] Plaintiff alleges that the Policy
federal law and the enforcement of an insurance policy under                specifically allows for coverage of irreplaceable “plants”,
the particular circumstances of this case is contrary to public             without excluding any particular type of plant, with payment
policy, as set forth more fully below.



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in the form of actual cash value. She alleges that insurers         proceeds. Defendant emphasizes that in Gonzales v. Raich,
regularly pay for such claims. [Id. at ¶¶ 12(d)-(e).]               545 U.S. 2195 (2005), the United States Supreme Court
                                                                    held that distributing, possessing, and using marijuana, even
 *2 Although not clearly enumerated in the Complaint,               for medical purposes, are illegal under federal law with
Plaintiff's claims appears to be as follows: breached the           the sole exception of federally-approved research. [Id. at
insurance contract; unreasonable/bad faith denial of her            10.] Defendant acknowledges that “[w]hile the Gonzales
insurance claim; and a violation of Haw.Rev.Stat. Chap.             Court did not specifically hold that federal prohibitions on
480. Plaintiff seeks: the fair and reasonable value of the          marijuana preempts contrary state medical marijuana laws,
stolen plants; contract and Chapter 480 damages; reasonable         a growing number of other courts have applied Gonzales
attorneys' fees and court costs; and interest. [Id. at pgs. 4–5.]   and/or the Supremacy Clause, and have so held.” [Id. at
                                                                    12.] Defendant argues that Hawaii's medical marijuana laws
                                                                    do not purport to legalize medical use and do not require
I. Motion for Summary Judgment                                      insurance coverage for medical use. Even if Hawai‘i law
In the instant Motion, Defendant argues that it is entitled         required insurance coverage for medical marijuana use, such
to judgment as a matter of law because Plaintiff lacks an           coverage would conflict with, and therefore be preempted by,
insurable interest in the marijuana plants under State and          federal law prohibiting such use. [Id. at 15.]
Federal law, and therefore Defendant is not obligated to
provide coverage under the Policy.                                   *3 Defendant argues that, at a minimum, it is entitled to
                                                                    summary judgment on Plaintiff's extra-contractual claims for
First, in order to have an insurable interest, the insured's        unreasonableness/bad faith and Plaintiff's Chapter 480 claim.
interest in the property must be “lawful” property under            Defendant argues that Plaintiff did not produce any evidence
Hawai‘i Revised Statutes § 431:10E–101. Second, Hawai‘i             of Defendant's bad faith, and Plaintiff failed to meet her
law generally prohibits the enforcement of illegal contracts,       burden of showing that Defendant unreasonably denied her
and Plaintiff cannot insure her marijuana plants unless her         claim. Defendant argues that, where an insurance company
possession was legal. [Mem. in Supp. of Motion at 3 (citing         denies a claim based on a correct interpretation of the law,
Haw.Rev.Stat. § 1–5).] Third, Defendant argues that Hawaii's        there can be no unreasonable denial of insurance coverage.
medical marijuana law, Haw.Rev.Stat. § 329–125, does not            Even if there is a dispute over the validity of Plaintiff's claim,
create an insurable interest because it merely “provides an         the dispute demonstrates that Defendant reasonably disagreed
affirmative defense to marijuana-related state law crimes for       with Plaintiff's claim based on an unresolved legal issue. [Id.
the medical use of marijuana.” [Id. at 4 (emphasis omitted).]       at 15–17.]
Defendant argues that there is no affirmative defense for the
promotion, purchase, or sale of marijuana, even for medical         Defendant further argues that Haw.Rev.Stat. Chapter 431,
use, and therefore Plaintiff cannot legally use the insurance       Article 13 preempts Haw.Rev.Stat. Chapter 480 in the
proceeds to purchase replacement marijuana plants. Further,         area of insurance. Defendant contends that Chapter 480
   Haw.Rev.Stat. § 329–124 expressly disclaims insurance            does not apply because an insurance beneficiary is not
coverage for medical marijuana. [Id. at 4–5.]                       a “consumer”, and an insurance policy does not involve
                                                                    “goods” or “services”. [Id. at 17–18.] Defendant emphasizes
Defendant points out that the statutory law in force and effect     that Haw.Rev.Stat. § 480–11(b) expressly exempts insurance
at the time an insurance policy is issued becomes part of the       companies from the scope of Chapter 480. Defendant also
insurance contract, as though it were expressly written into        argues that Chapter 480 should not apply to the insurance
the contract. Further, courts should not interpret insurance        claims in this case because of    Haw.Rev.Stat. § 329–124,
contracts to provide coverage when coverage would be                which states that Hawaii's medical marijuana laws do not
against public policy, such as when an insured's activities         require insurance coverage for the medical use of marijuana.
relate to an illegal controlled substance. [Id. at 5–6.]            [Id. at 20–21.]

Defendant contends that requiring insurance coverage for            Even if Chapter 480 applies, Defendant argues that there is
marijuana plants would be against federal public policy             no evidence to support Plaintiff's claim that the denial of
because coverage presupposes that the insured will purchase,        her insurance claim constituted a violation of Chapter 480.
sell, and/or distribute marijuana plants with insurance             At a minimum, the denial was supported by a reasonable


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legal argument. There is nothing to support Plaintiff's               user. The contract terms are not ambiguous and must be
conclusory allegation that Defendant violated Chapter 480,            interpreted according to their plain meaning. Further, Hawai‘i
and Defendant contends that it is entitled to summary                 courts honor the objectively reasonable expectations of the
judgment on Plaintiff's Chapter 480 claim. [Id. at 21–23.]            parties concerning insurance coverage, and the objectively
                                                                      reasonable expectations are construed from a layperson's
Defendant also argues that it is entitled to summary judgment         perspective. Plaintiff emphasizes that Defendant initially
on the issue of Plaintiff's entitlement to punitive damages.          acknowledged coverage and paid $8,801.90 on Plaintiff's
Under Hawai‘i law, the issue of punitive damages cannot               claim in February 2011. Defendant only raised its objections
be submitted to the jury based upon evidence of merely a              after Plaintiff sought more money on May 27, 2011. [Id. at
possible breach of contract or mere inadvertence, mistake,            3–4.]
or errors of judgment. Defendant emphasizes that Hawai‘i
law requires more than just the commission of a tort; clear           Plaintiff argues that she had an insurable interest in the plants,
and convincing evidence of wanton, oppressive, malicious, or          as defined by § 431:10E–101, because she is permitted by
wilful conduct is required. Defendant contends that, because          Hawai‘i law to have the plants for medical use. She contends
it had at least a reasonable legal basis to deny Plaintiff's claim,   that, by enacting Haw.Rev.Stat. § 329–127, which governs
Plaintiff cannot establish any conduct that would warrant             the return of marijuana an other paraphernalia after seizure,
punitive damages. [Id. at 23–26.]                                     the State Legislature acknowledged that a medical marijuana
                                                                      user has a substantive interest in the source of her medical
                                                                      marijuana. Where the government seizes the plants, they must
III. Plaintiff's Memorandum in Opposition                             be returned to the owner upon a showing that the owner was
In her Memorandum in Opposition, Plaintiff states that the            in compliance with the medical marijuana statute. Plaintiff
facts of this case are essentially uncontested. She emphasizes        emphasizes that courts widely hold that an “insurable interest”
that the Policy expressly covers losses to “ ‘Trees, Shrubs and       need not be a free and unencumbered interest. [Id. at 5.]
Other Plants' “ caused by, inter alia, theft. [Mem. in Opp. at
1–2 (quoting Policy at 3–4).]
                                                                      Plaintiff argues that Defendant's reliance on Haw.Rev.Stat.
Plaintiff argues that Defendant is a sophisticated and                § 329–124 is misplaced because the statute only addresses
experienced insurance company that likely provided similar            medical insurance coverage for marijuana use. As to the bad
services in Hawai‘i for many years prior to the events at             faith claim, Plaintiff argues that her allegations are sufficient
issue in this case. Plaintiff contends that the Policy, which         because a plaintiff can establish a bad faith claim by proving
Defendant prepared, specifically contemplated the coverage            that the insurer unreasonably handled claims, denied claims,
of marijuana plants, and Defendant was aware of both the              or interpreted its policies. Plaintiff contends that this issue is
federal law and Hawai‘i law relevant to this issue when it            fact specific and is not appropriate for summary judgment.
issued the Policy. [Id. at 2–3.] Plaintiff states that paragraph      [Id. at 6–7.]
J on page 13 of the Policy excludes coverage for losses
involving illegal narcotics, including cocaine, LSD, and
                                                                      IV. Defendant's Reply
marijuana, but the Policy expressly states that the exclusion “
                                                                      In its Reply, Defendant emphasizes that Plaintiff does not
‘does not apply to the legitimate use of prescription drugs by
                                                                      contest that an insured must have an “insurable interest”
a person following the orders of a licensed physician.’ “ [Id.
                                                                      in property to insure it, or that marijuana, even when used
at 3 (emphasis omitted).]
                                                                      for medical purposes, is a Scheduled I controlled substance
                                                                      under     21 U.S.C. §§ 841(a) and       812(c). Plaintiff has
 *4 Plaintiff points out that     Haw. Admin. R. § 23–
                                                                      not cited any authority for the proposition that medical
202–13(b)(1) provides that an individual who qualifies for
                                                                      marijuana is legally insurable, nor has she responded to
medical marijuana use may supply herself by growing
                                                                      Defendant's argument that a contract insuring marijuana
the plant at her home address. Plaintiff argues that there
                                                                      would be inconsistent with public policy under federal law.
is no basis for Defendant to deny coverage because
                                                                      Defendant also reiterates that § 329–125 merely provides an
Defendant was on notice that, by covering “trees, shrubs
                                                                      affirmative defense for the use of medical marijuana; neither
or plants”, it was required to cover marijuana/cannabis
                                                                      it nor any other statute provides a similar defense for the
plants where the insured was a licensed medical marijuana
                                                                      promotion, purchase, or sale of marijuana. Thus, medical


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marijuana plants cannot be insured because purchasing                Plaintiff's Supplemental Declaration states that she resides
replacement plants with insurance proceeds would be illegal.         with her significant other, Greg J. Rodenbaugh, who is the
                                                                     caretaker for Alicia Ell. Plaintiff, Mr. Rodenbaugh, and Ms.
Defendant also points out that nothing in      § 329–124 limits
                                                                     Ell all have medical marijuana licenses from the State, and
the provision to health insurance. Thus, pursuant to § 329–          all three licenses give Plaintiff's address as the location of the
124, Defendant is not required under Hawai‘i law to provide          marijuana. [Pltf.'s Suppl. Decl. at ¶¶ 1–2, Exh. B.] Plaintiff
insurance for medical marijuana. [Reply at 3–5.]                     therefore argues that she was legally authorized to have the
                                                                     nine mature marijuana plants and the three immature plants
 *5 Defendant argues that the general view precludes                 which were the subject of her insurance claim at her residence.
insurance coverage of a controlled substance or an insured's         Further, she emphasizes that Section I—Property Coverages,
activities relating to that substance. Plaintiff has not cited any   Coverage C—Personal Property insures personal property
contrary law. Thus, even if medical marijuana was insurable          owned by others when the personal property is in the insured's
under Hawai‘i law, such insurance would be contrary to               residential premises. [Id. at ¶¶ 2–3.]
federal law, which would preempt Hawai‘i law. [Id. at 5–7.]
                                                                     In its Supplemental Reply, Defendant argues that Plaintiff
Defendant also argues that Plaintiff's reliance on exclusion         made binding admissions in the Complaint that she
1(j) on page 13 of the Policy is misplaced because exclusions        possessed all twelve plants which were the subject of her
cannot create coverage which did not already exist under the         claim. Defendant also challenges Plaintiff's Supplemental
terms of a policy and the applicable law. Further, exclusion         Declaration because Plaintiff does not have personal
1(j) does not directly apply in this case because it addresses       knowledge about the marijuana possession of non-parties; she
personal liability, not payments for the insured's medical           only has personal knowledge of her own marijuana certificate
coverage. Even if the exclusion did apply, it expressly              and use. Even if the Court considers Plaintiff's Supplemental
precludes coverage for marijuana. [Id. at 7 n. 3.]                   Declaration, it does not establish that Plaintiff complied with
                                                                     the strict limitations on joint possession of an adequate supply
Defendant reiterates that Plaintiff has not presented any            of marijuana pursuant to Haw.Rev.Stat. § 329–125. [Id. at 2–
evidence of unreasonableness or bad faith, particularly              3, 8.]
because she has not presented any affidavits or declarations
setting forth specific facts. Thus, there is no genuine
issue of material fact for trial. Defendant also emphasizes
                                                                                             DISCUSSION
that, pursuant to Fed.R.Evid. 408, evidence of its prior
settlement payment for her insurance claim is not admissible          *6 At the outset, the Court notes that federal jurisdiction in
as evidence of Defendant's alleged obligation to provide             this case is based on diversity. [Notice of Removal at ¶ 3.]
coverage. Similarly, Defendant argues that Plaintiff has not         This district court has recognized that:
presented any evidence showing a genuine issue of material
fact regarding either her Chapter 480 claim or her allegation          Federal courts sitting in diversity apply state substantive
that she is entitled to punitive damages. [Id. at 8–11.]               law and federal procedural law. See Mason & Dixon
                                                                       Intermodal, Inc. v. Lapmaster Int'l LLC, 632 F.3d 1056,
                                                                       1060 (9th Cir.2011) (“When a district court sits in
IV. Supplemental Briefing                                              diversity, or hears state law claims based on supplemental
At the hearing on the Motion, this Court raised the issue              jurisdiction, the court applies state substantive law to the
whether the twelve plants that were the subject of Plaintiff's
insurance claim exceeded an “adequate supply” of marijuana             state law claims.”);    Zamani v. Carnes, 491 F.3d 990,
and rendered her ineligible to lawfully use marijuana                  995 (9th Cir.2007) (“Federal courts sitting in diversity
                                                                       jurisdiction apply state substantive law and federal
for medical purpose. See        Haw.Rev.Stat. §§ 329–122(a),           procedural law.” (quotations omitted)). When interpreting
   329–121; State v. Vincent, No. 27357, 2009 WL 120308,               state law, a federal court is bound by the decisions of a
at *1 (Hawai‘i Ct.App. Jan. 20, 2009). The Court permitted             state's highest court. Trishan Air, Inc. v. Fed. Ins. Co.,
the parties to file supplemental briefing on this issue.               635 F.3d 422, 427 (9th Cir.2011). In the absence of a
                                                                       governing state decision, a federal court attempts to predict
                                                                       how the highest state court would decide the issue, using



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  intermediate appellate court decisions, decisions from
  other jurisdictions, statutes, treatises, and restatements as    [Policy, Agreement (Homeowners 3R Special Form (04–
                                                                   93) HO–93 Program), Section I—Property Coverages,
  guidance. Id.; see also       Burlington Ins. Co. v. Oceanic     Additional Coverages, at 4 of 17 (emphases omitted).]
  Design & Constr., Inc., 383 F.3d 940, 944 (9th Cir.2004)
  (“To the extent this case raises issues of first impression,     Plaintiff also cites the following exclusion as evidence that
  our court, sitting in diversity, must use its best judgment to   the Policy's coverage encompasses medical marijuana plants:
  predict how the Hawaii Supreme Court would decide the
  issue.” (quotation and brackets omitted)).                         1. Coverage E—Personal Liability and Coverage F—
                                                                       Medical Payments to Others do not apply to bodily
U.S. Fire Ins. Co. v. Estate of James Campbell, Civil No. 11–          injury or property damage:
00006 LEK–KSC, 2011 WL 6934566, at *3 (D. Hawai‘i Dec.
30, 2011) (citation omitted).                                           ....

Before the Court can address the substantive issues in this          j. arising out of the use, sale, manufacture, delivery,
matter, it must address the procedural issue of whether                 transfer or possession by any person of a controlled
Plaintiff's submission of the Policy is properly before the             substance(s). Controlled substances include but are not
Court.                                                                  limited to cocaine, LSD, marijuana and all narcotic
                                                                        drugs. However, this exclusion does not apply to
                                                                        the legitimate use of prescription drugs by a person
I. The Policy                                                           following the orders of a licensed physician.
Plaintiff submitted a copy of the Policy with her memorandum
in opposition. [Dkt. no. 24–1.] The Court notes that Plaintiff     [Id., Section II—Exclusions, at 12 of 17 to 13 of 17 (emphases
failed to file a concise statement of facts, as required by        omitted).]
Local Rule 56.1(b), and that the memorandum in opposition
does not include a declaration authenticating the Policy.
                                                                   II. Hawaii's Medical Marijuana Laws
Although the Court does not condone the failure to follow
                                                                   The State Legislature enacted Hawaii's medical-use-of-
court rules, insofar as Defendant has not contested the
                                                                   marijuana laws in 2000.2000 Haw. Sess. Laws Act 228 at
accuracy of Plaintiff's exhibit, the Court will exercise its
                                                                   595–96. Haw.Rev.Stat. § 329–125(a) states: “A qualifying
discretion and consider the document. See Fed.R.Evid.
                                                                   patient or the primary caregiver may assert the medical use
901(b)(4) (evidence may be authenticated by examining its
                                                                   of marijuana as an affirmative defense to any prosecution
“appearance, contents, substance, internal patterns, or other
                                                                   involving marijuana under this [part] or chapter 712; provided
distinctive characteristics of the item, taken together with all
                                                                   that the qualifying patient or the primary caregiver strictly
the circumstances.”).
                                                                   complied with the requirements of this part.” (Alteration
                                                                   in original) (emphasis added). Some of the requirements
The Policy states, in pertinent part:
                                                                   that a qualifying patient must comply with are set forth in
  3. Trees, Shrubs and Other Plants. We cover trees, shrubs,          Haw.Rev.Stat. § 329–122(a), which states:
     plants or lawns, on the residence premises, for loss
     caused by the following Perils Insured Against: ...             Notwithstanding any law to the contrary, the medical use of
     Vandalism or malicious mischief or Theft.                       marijuana by a qualifying patient shall be permitted only if:

     We will pay up to 5% of the limit of liability that applies        (1) The qualifying patient has been diagnosed by a
     to the dwelling for all trees, shrubs, plants or lawns. No         physician as having a debilitating medical condition;
     more than $500 of this limit will be available for any one
                                                                        (2) The qualifying patient's physician has certified in
     tree, shrub or plant. We do not cover property grown for
                                                                        writing that, in the physician's professional opinion,
     business purposes.
                                                                        the potential benefits of the medical use of marijuana
      *7 This coverage is additional insurance.                         would likely outweigh the health risks for the particular
                                                                        qualifying patient; and




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     (3) The amount of marijuana does not exceed an                of public policy. See, e.g., Inlandboatmen's Union of the
     adequate supply .                                             Pac., Hawai‘i Region, Marine Div. of Int'l Longshoremen's &
                                                                   Warehousemen's Union v. Sause Bros., Inc., 77 Hawai‘i 187,
                                                                   194, 881 P.2d 1255, 1262 (Ct.App.1994) (citations omitted).
(Emphasis added.)      Haw.Rev.Stat. § 329–121 states:

                                                                   In Plaintiff's Supplemental Declaration, Plaintiff states that
                                                                   both she and Mr. Rodenbaugh, who resides with her, have
             “Adequate supply” means an amount
                                                                   medical licenses to grow marijuana plants. In addition, their
             of marijuana jointly possessed
                                                                   friend, Ms. Ell has a medical marijuana license listing Mr.
             between the qualifying patient and
                                                                   Rodenbaugh as Ms. Ell's caretaker. 2 [Pltf.'s Suppl. Decl.
             the primary caregiver that is not
                                                                   at ¶ 2.] Plaintiff submitted a copy of the three Patient
             more than is reasonably necessary to
                                                                   Identification Certificates from the State Medical Marijuana
             assure the uninterrupted availability
                                                                   Registry. Each certificate identifies Plaintiff's residence as
             of marijuana for the purpose of
                                                                   the “Location of Marijuana”. [Id. at ¶ 1, Exh. B.] Plaintiff
             alleviating the symptoms or effects
                                                                   asserts that, based on the three certificates, there were
             of a qualifying patient's debilitating
                                                                   lawfully nine mature marijuana plants at her residence, and
             medical condition; provided that an
                                                                   the three immature plants were for Ms. Ell's supply. [Id. at
             “adequate supply” shall not exceed
                                                                   ¶ 2.] Defendant objects to Plaintiff's submissions because
             three mature marijuana plants, four
                                                                   they are contrary to the admissions in the Complaint and
             immature marijuana plants, and
                                                                   because Plaintiff does not have personal knowledge of Mr.
             one ounce of usable marijuana per
                                                                   Rodenbaugh's and Ms. Ell's possession of marijuana plants.
             each mature plant.

                                                                   First, the Court finds, for purposes of the instant Motion only,
                                                                   that Plaintiff has sufficient personal knowledge regarding Mr.
(Emphasis added.) The applicable administrative rule
                                                                   Rodenbaugh's and Ms. Ell's marijuana plants because they are
reiterates the limits on the numbers of mature and immature
                                                                   kept at Plaintiff's residence. This Court will therefore consider
marijuana plants.      Haw. Admin. R. § 23–202–13(c). The          both the representations about those plants in Plaintiff's
rule also provides that an individual who exceeds an adequate      Supplemental Declaration and Plaintiff's submission of Mr.
supply is “not exempted from the criminal laws of the State.”      Rodenbaugh's and Ms. Ell's certificates from the State
   § 23–202–13(d).                                                 Medical Marijuana Registry. 3

                                                                   The Complaint alleges that, in general, the Policy constitutes
III. Plaintiff's Supply                                            Defendant's agreement that “in the event that plaintiff suffered
 *8 At the hearing on the Motion, the Court sua sponte raised      a loss to her personal property at her residence, ... the
the issue that Plaintiff's twelve marijuana plants, including      defendant would pay to plaintiff the replacement costs of such
nine mature plants, exceeded an adequate supply. Plaintiff's       loss.” [Complaint at ¶ 5.] Specifically, the Complaint alleges:
failure to strictly comply with the statutes regarding an          “[o]n or about July 30, 2010, plaintiff suffered an event where
adequate supply would mean that she could not avail herself        twelve (12) plants were taken from her property ... and that
of the Hawai‘i medical marijuana laws. See Vincent, 2009           the taking constituted a theft[;]” [id. at ¶ 7;] and “plaintiff
WL 120308, at *1 (noting that, unless the patient meets            lawfully possessed, grew, nurtured and cultivated the plants
the requirements of       § 329–122(a), “a qualifying patient      consistent with the laws of the State of Hawaii[;]” [id. at
is not permitted to use marijuana for medical purposes”).          ¶ 12.b]. Defendant emphasizes that the Complaint does not
If Plaintiff's possession of the marijuana plants was not          mention Mr. Rodenbaugh's and Ms. Ell's ownership of some
protected by the Hawai‘i medical marijuana laws, it would          of the plants which were the subject of Plaintiff's insurance
be unnecessary for the Court to rule upon the arguments that       claim. Plaintiff argues that the allegations of the Complaint do
the parties addressed in their memoranda because the Hawai‘i       not constitute an admission that she owned all twelve plants
state courts recognize the common law principle that a court       because the Policy covers “ ‘personal property owned by:
may refuse to enforce a contract that is illegal or in violation   1. others while the property is on the part of the residential



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premises occupied by an insured.’ “ [Pltf.'s Suppl. Decl.          an affirmative defense to marijuana-related crimes.” State
at ¶ 3 (quoting the Policy, Section 1—Property Coverages,          v. Manzano–Hill, No. 29063, 2010 WL 359901, at *1
Coverage C).] Without ruling on the issue whether Section 1        (Hawai‘i Ct.App. Jan. 27, 2010). The ICA, however, has cited
—Property Coverages, Coverage C applies, this Court FINDS
                                                                       § 329–122(a) for “an entitlement to the medical use of
that there are genuine issues of material fact as to whom
                                                                   marijuana[.]” State v. Blagus, No. 30016, 2010 WL 3759788,
the marijuana plants stolen from Plaintiff's residence were
                                                                   at *2 (Hawai‘i Ct.App. Sept. 27, 2010). It has also stated that
legally attributable. Thus, this Court cannot conclude as a
matter of law that Plaintiff's possession of marijuana plants      “unless the foregoing requirements [of    § 329–122(a) ] are
excluded her from the Hawai‘i medical marijuana laws. See          met, a qualifying patient is not permitted to use marijuana
Fed.R.Civ.P. 56(a) (“The court shall grant summary judgment        for medical purposes.” Vincent, 2009 WL 120308, at *1. It
if the movant shows that there is no genuine dispute as to any     follows from the ICA's analysis that, if a qualifying patient
material fact and the movant is entitled to judgment as a matter   meets the requirements of        § 329–122(a), and all other
of law.”). The Court now turns to the issues addressed in the
                                                                   applicable provisions of Chapter 329, Part IX, 4 the patient is
parties' memoranda.
                                                                   permitted to use marijuana for medical purposes.


IV. Insurable Interest                                             In addition, the Court notes that, in enacting Chapter 329, Part
 *9 Defendant first argues that Plaintiff does not have an         IX, the Hawai‘i State Legislature stated:
insurable interest in the marijuana plants. Haw.Rev.Stat. §
                                                                     The legislature finds that modern medical research has
431:10E–101 states:
                                                                     discovered a beneficial use for marijuana in treating or
                                                                     alleviating the pain or other symptoms associated with
                                                                     certain debilitating illnesses. There is sufficient medical
             No contract of insurance on property                    and anecdotal evidence to support the proposition that
             or of any interest therein or arising                   these diseases and conditions may respond favorably to a
             therefrom shall be enforceable except                   medically controlled use of marijuana.
             for the benefit of persons having
             an insurable interest in the property                   The legislature is aware of the legal problems associated
             insured. Insurable interest means                       with the legal acquisition of marijuana for medical use.
             any lawful and substantial economic                     However, the legislature believes that medical scientific
             interest in the safety or preservation of               evidence on the medicinal benefits of marijuana should
             the subject of the insurance free from                  be recognized. Although federal law expressly prohibits
             loss, destruction, or pecuniary damage.                 the use of marijuana, the legislature recognizes that a
                                                                     number of states are taking the initiative in legalizing the
                                                                     use of marijuana for medical purposes. Voter initiatives
Defendant does not dispute that Plaintiff had a substantial          permitting the medical use of marijuana have passed in
economic interest in the plants. The dispute in this case            California, Arizona, Oregon, Washington, Alaska, Maine,
centers around whether Plaintiff's interest in the plants was        Nevada, and the District of Columbia.
lawful. Defendant emphasizes that Haw.Rev.Stat. § 329–
                                                                      *10 The legislature intends to join in this initiative for the
125 “does not legalize the medical use of marijuana, but
                                                                     health and welfare of its citizens. However, the legislature
provides an affirmative defense to marijuana-related state law
                                                                     does not intend to legalize marijuana for other than medical
crimes for the medical use of marijuana.” [Mem. in Supp. of
                                                                     purposes. The passage of this Act and the policy underlying
Motion at 4 (emphasis omitted).] Further, Defendant argues
                                                                     it does not in any way diminish the legislature's strong
that     Haw.Rev.Stat. § 329–124 “expressly disclaims any            public policy and laws against illegal drug use.
legislative intent to require insurance coverage for marijuana,
even for medical purposes[.]” [Id. at 5.]                            Therefore, the purpose of this Act is to ensure that seriously
                                                                     ill people are not penalized by the State for the use of
There is no Hawai‘i Supreme Court case law analyzing the             marijuana for strictly medical purposes when the patient's
Hawai‘i medical marijuana laws. The Intermediate Court               treating physician provides a professional opinion that the
of Appeals (“ICA”) has stated that § 329–125 “provides


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  benefits of medical use of marijuana would likely outweigh
  the health risks for the qualifying patient.                      V. Marijuana and Federal Law
                                                                     *11 Defendant next argues that, even if Plaintiff has an
2000 Haw. Sess. Laws Act 228, § 1 at 595–96.                        insurable interest in her marijuana plants under Hawai‘i law,
                                                                    Defendant is precluded from providing coverage for the
Defendant emphasizes that the Legislature expressly                 plants because it would be contrary to federal law and federal
disclaimed any requirement that insurers provide coverage for       public policy.
the medical use of marijuana.       Haw.Rev.Stat. § 329–124
                                                                    As noted, supra, under Hawai‘i law, a court may refuse to
states: “This part shall not be construed to require insurance
                                                                    enforce a contract that is illegal or in violation of public
coverage for the medical use of marijuana.” Plaintiff responds
                                                                    policy.    Inlandboatmen's Union, 77 Hawai‘i at 194, 881
that     § 329–124 “seems more likely to relate to health
                                                                    P.2d at 1262 (some citations omitted) (citing Aiea Lani Corp.
insurance coverage, wherein health insurers would not have
                                                                    v. Hawaii Escrow & Title Inc., 64 Haw. 638, 647 P.2d 257
to reimburse medical marijuana users....” [Mem. in Opp. at
                                                                    (1982) (contract for “kickbacks” which was illegal is not
6.] Plaintiff, however, cites no authority for her interpretation
                                                                    enforceable);     Wilson v. Kealakekua Ranch, 57 Haw. 124,
of    § 329–124. The plain language of the statute does not
                                                                    551 P.2d 525 (1976) (a contract will be unenforceable if
support such a limited interpretation, and there is nothing in
                                                                    the violation of public policy was intended to protect the
the legislative history that suggests the Legislature intended
                                                                    public from fraud and incompetence, but not if the public
to limit   § 329–124 to medical insurance. Cf.      Steigman        policy was only malum prohibitum or to raise revenue);
v. Outrigger Enters., Inc., 126 Hawai‘i 133, 148–49, 267 P.3d       Miehlstein v. King Market Co., 24 Haw. 540 (1918) (a
1238, 1253–54 (2011) (“Although the statutory language of           contract involving a city official performing work he is
HRS § 663–31 is plain and unambiguous, we may resort                prohibited from performing by law violates public policy and
to the legislative history to confirm this interpretation of        is unenforceable); Goo Wan Hoy v. McKeague, 24 Haw. 263
the statute.” (citing E & J Lounge Operating Co. v.                 (1918) (promissory note was void because consideration for
Liquor Comm'n of City & County of Honolulu, 118 Hawai‘i             the note was intoxicating liquors sold without a liquor license
320, 335, 189 P.3d 432, 447 (2008) (“Legislative history            which was prohibited by criminal law); Cosmopolitan Fin.
may be used to confirm interpretation of a statute's plain          Corp. v. Runnels, 2 Haw.App. 33, 625 P.2d 390 (1981) (the
                                                                    law will not be used to enforce any part of an illegal bargain));
language.”);      State v. Entrekin, 98 Hawai‘i 221, 228, 47        see also Haw.Rev.Stat. § 1–5.
P.3d 336, 343 (2002) (“Although we ground our holding
in the statute's plain language, we nonetheless note that its       Defendant's position is that, even if a layperson would have
legislative history confirms our view.”))). Even assuming,          reasonably expected that Plaintiff's Policy included coverage
arguendo, that § 329–124 applies to all forms of insurance,         for the loss of medical marijuana plants, 5 this Court should
that interpretation does not compel summary judgment for
                                                                    not enforce that interpretation of the Policy 6 because it
Defendant.     Section 329–124 merely states that the State         would be contrary to federal public policy. Defendant argues
does not require insurers to provide coverage for medical
                                                                    that     Gonzales v. Raich, 545 U.S. 1 (2005), held that
marijuana usage; it does not preclude insurers from agreeing
                                                                    the federal Controlled Substances Act (“CSA”), 21 U.S.C.
to provide coverage for medical marijuana usage.
                                                                    § 801 et seq., prevails over any state law permitting the
                                                                    medical use of marijuana. In Gonzales, the respondents were
Thus, the Court predicts that the Hawai‘i Supreme Court
                                                                    California residents who used marijuana for medical purposes
would hold that a qualifying patient who is in strict
                                                                    under California's Compassionate Use Act and pursuant to
compliance with the Hawai‘i medical marijuana laws has
                                                                    the recommendation of their licensed, board-certified, family
a lawful interest in her marijuana supply for purposes
                                                                    practitioners. The respondents sued the Attorney General of
of Haw.Rev.Stat. § 431:10E101. This Court therefore
                                                                    the United States and the head of the Drug Enforcement
CONCLUDES that Plaintiff had a insurable interest in her
                                                                    Administration, seeking injunctive and declaratory relief
marijuana plants which were the subject of her insurance
                                                                    prohibiting the enforcement of the CSA to the extent that it
claim.
                                                                    prevented them from possessing, obtaining, or manufacturing
                                                                    marijuana for their personal medical use. Id. at 6–7. The


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Supreme Court vacated the Ninth Circuit's opinion reversing           lawful under federal law. In fact, the use of medical
the denial of a preliminary injunction and ordering the district      marijuana remains unlawful under federal law. See
court to enter the injunction. Id. at 8, 33. The Supreme
                                                                         Gonzales v. Raich, 545 U.S. 1, 27, 125 S.Ct. 2195,
Court held that the intrastate, non-commercial cultivation,
                                                                      162 L.Ed.2d 1 (2005) (explaining that even if marijuana
possession, and use of marijuana was still subject to the CSA.
                                                                      is used “for personal medical purposes on the advice of
Id. at 32–33. In so holding, the Supreme Court stated that:
                                                                      a physician,” it is still considered contraband under the
                                                                      CSA, which designates marijuana as contraband “for any
  The CSA designates marijuana as contraband for any                  purpose”); United States v. Katz, 2010 WL 183863, *1
  purpose; in fact, by characterizing marijuana as a Schedule         (9th Cir. Jan. 19, 2010) (vacating pretrial detention order,
  I drug, Congress expressly found that the drug has                  which modified defendant's bond order to permit defendant
  no acceptable medical uses. Moreover, the CSA is a                  to use and possess marijuana for medical purposes in
  comprehensive regulatory regime specifically designed to            compliance with California law, because it is illegal to
  regulate which controlled substances can be utilized for            possess marijuana under federal law); United States v.
  medicinal purposes, and in what manner.... Thus, even if            Scarmazzo, 554 F.Supp.2d 1102, 1105 (E.D.Cal.2008)
  respondents are correct that marijuana does have accepted           (“The use of medical marijuana remains unlawful.”).
  medical uses and thus should be redesignated as a lesser
                                                                    No. 09cr3695 BTM, 2010 WL 4117276, at *5 (S.D.Cal. Oct.
  schedule drug, the CSA would still impose controls beyond
                                                                    18, 2010) (some emphases added).
  what is required by California law.... [T]he mere fact that
  marijuana-like virtually every other controlled substance
                                                                    In United States v. Hicks, the United States District Court for
  regulated by the CSA-is used for medicinal purposes
                                                                    the Eastern District of Michigan stated:
  cannot possibly serve to distinguish it from the core
  activities regulated by the CSA.                                    It is indisputable that state medical-marijuana laws do
                                                                      not, and cannot, supercede federal laws that criminalize
      *12 ....
                                                                      the possession of marijuana. See           Gonzales, 545
     ... [L]imiting the activity to marijuana possession and          U.S. at 29, 125 S.Ct. 2195 (“The Supremacy Clause
     cultivation “in accordance with state law” cannot serve          unambiguously provides that if there is any conflict
     to place respondents' activities beyond congressional            between federal and state law, federal law shall prevail.”);
     reach. The Supremacy Clause unambiguously provides
                                                                         United States v. $186,416.00 in U.S. Currency, 590
     that if there is any conflict between federal and state law,
                                                                      F.3d 942, 945 (9th Cir.2010) (“The federal government
     federal law shall prevail....
                                                                      has not recognized a legitimate medical use for marijuana,
   Id. at 27–29 (emphasis in original).                               however, and there is no exception for medical marijuana
Other federal courts have repeatedly recognized that Gonzales         distribution or possession under the federal Controlled
establishes that the possession and cultivation of marijuana          Substances Act[.]”); United States v. Landa, 281 F.Supp.2d
for medical use is illegal under federal law, even when it            1139, 1145 (N.D.Cal.2003) (“[O]ur Congress has flatly
is permitted under state law. For example, in United States           outlawed marijuana in this country, nationwide, including
v. Stacy, the United States District Court for the Southern           for medicinal purposes.”).
District of California stated:
                                                                     *13 722 F.Supp.2d 829, 833 (E.D.Mich.2010) (alterations in
                                                                    Hicks ) (some citations omitted) (emphasis added). Further,
  Under California's Compassionate Use Act ( Cal. Health
                                                                    when it enacted Hawaii's medical marijuana laws, the State
  & Safety Code § 11362.5), a patient who possesses or
                                                                    Legislature expressly recognized that the use of marijuana
  cultivates marijuana for the personal medical purposes of
                                                                    was prohibited under federal law. 2000 Haw. Sess. Laws Act
  the patient upon the written or oral recommendation or
                                                                    228, § 1 at 595.
  approval of a physician, cannot be prosecuted under Cal.
  Health & Safety Code § 11357, relating to the possession of
                                                                    The rule under Hawai‘i law that courts may decline to enforce
  marijuana, or Cal. Health & Safety Code § 11358, relating
                                                                    a contract that is illegal or contrary to public policy applies
  to the cultivation of marijuana. However, California law
                                                                    where the enforcement of the contract would violate federal
  does not purport to render the use of medical marijuana
                                                                    law. The employer in Inlandboatmen's Union argued that the


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                                                                   refusal to pay for Plaintiff's claim for the loss of her medical
court should decline to enforce one aspect of the arbitrator's
                                                                   marijuana plants did not constitute a breach the parties'
interpretation of the collective bargaining agreement because
                                                                   insurance contract. The Court GRANTS Defendant's Motion
its implementation would cause the employer to violate       46    as to Plaintiff's breach of contract claim.
U.S.C. § 8104 (1988). 7    77 Hawai‘i at 190–91, 881 P.2d at
1258–59. The Hawai‘i Supreme Court, however, ultimately
                                                                   VI. Plaintiff's Remaining Claims
held that the employer had not established that the arbitrator's
                                                                   Insofar as this Court has concluded that it cannot enforce the
finding conflicted with     § 8104.     Id. at 196, 881 P.2d at    provision of the Policy which purportedly covers the loss of
1264.                                                              medical marijuana plants, this Court also CONCLUDES that,
                                                                   as a matter of law, Defendant's denial of Plaintiff's claim did
Insofar as Defendant seeks summary judgment, this Court            not constitute either a violation of Haw.Rev.Stat. Chapter 480
must view the evidence in the light most favorable to Plaintiff.   or the tort of unreasonableness/bad faith. The Court therefore
See     Miller v. Glenn Miller Prods., Inc., 454 F.3d 975,         GRANTS Defendant's Motion as to Plaintiff's Chapter 480
988 (9th Cir.2006) (noting that, on a summary judgment             claim and Plaintiff's unreasonableness/bad faith claim.
motion, “the nonmoving party's evidence is to be believed,
and all justifiable inferences are to be drawn in that party's
favor” (citations, quotation marks, and brackets omitted)).                               CONCLUSION
The Court therefore assumes, for purposes of the instant
Motion, that the “Trees, Shrubs and Other Plants” provision        On the basis of the foregoing, Defendant's Motion for
of the Policy covered the loss of Plaintiff's medical marijuana    Summary Judgment, filed October 20, 2011, is HEREBY
plants. Even in light of that assumption, this Court cannot        GRANTED. The Court directs the Clerk's Office to enter
enforce the provision because Plaintiff's possession and           judgment in favor Defendant and to close the case.
cultivation of marijuana, even for State-authorized medical
use, clearly violates federal law. To require Defendant to pay     *14 IT IS SO ORDERED.
insurance proceeds for the replacement of medical marijuana
plants would be contrary to federal law and public policy, as
                                                                   All Citations
reflected in the CSA, Gonzales, and its progeny. The Court
therefore CONCLUDES that, as a matter of law, Defendant's          Not Reported in F.Supp.2d, 2012 WL 928186




                                                           Footnotes


1      The only exhibit attached to Defendant's separate and concise statement of facts in support of the Motion
       (“Defendant's CSOF”), [filed 10/20/11 (dkt. no. 14),] is the Complaint. [Dkt. no. 14–2.] Defendant contends
       that there are no genuine issues of fact for trial. For the purposes of the instant Motion, Defendant assumes,
       but does not admit, that the factual allegations of the Complaint are true. [Def.'s CSOF at 1–2.]
2
           Haw. Admin. R. § 23–202–13 states, in pertinent part:
             (a) A qualifying patient who possesses a registry identification certificate issued pursuant to section
             329–123, Hawaii Revised Statutes, may engage in and a registered primary caregiver of the patient
             may assist in, the medical use of marijuana only as justified to mitigate the symptoms or effects of the
             qualifying patient's debilitating medical condition.
             (b) The medical marijuana shall be grown only at the following locations:
             (1) The qualifying patient's home address; or
             (2) The primary caregiver's home address or other location owned or controlled by the qualifying patient
             or the primary caregiver that is approved by the administrator and designated on the registry certificate
             issued by the department.


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3     This Court also considers Plaintiff's representations about her own marijuana plants and her certificate, about
      which she clearly has personal knowledge.
4
      Chapter 329, Part IX includes      Haw Rev. Stat. § 329–121 to      § 329–128.
5     The Hawai‘i Supreme Court has stated: adherence to the plain language and literal meaning of insurance
      contract provisions is not without limitation. We have acknowledged that because insurance policies are
      contracts of adhesion and are premised on standard forms prepared by the insurer's attorneys, we have long
      subscribed to the principle that they must be construed liberally in favor of the insured and any ambiguities
      must be resolved against the insurer. Put another way, the rule is that policies are to be construed in accord
      with the reasonable expectations of a layperson.
         Guajardo v. AIG Hawai‘i Ins. Co., 118 Hawai‘i 196, 202, 187 P.3d 580, 586 (2008) (quoting            Dairy
         Rd. Partners v. Island Ins. Co ., 92 Hawai‘i 398, 411–12, 992 P.2d 93, 106–07 (2000)). The Hawai‘i
         Supreme Court has also stated: “[t]he objectively reasonable expectations of [policyholders] and intended
         beneficiaries regarding the terms of insurance contracts will be honored even though painstaking study of
         the policy provisions would have negated those expectations. These ‘reasonable expectations' are derived
        from the insurance policy itself....”     Del Monte Fresh Produce (Hawaii), Inc. v. Fireman's Fund Ins. Co.,
        117 Hawai‘i 357, 368, 183 P.3d 734, 745 (2007) (citations and some quotation marks omitted) (some
        alterations in original).
6     There is no allegation that the alleged illegality of any provision of the Policy which arguably provides coverage
      for the medical marijuana plants rendered the Policy as a whole unenforceable. Under Hawai‘i law, where
      part of a contract is illegal and the remainder is legal, a court should sever the illegal provision and enforce
      the legal portion of the contract, provided that the illegal provision “is not central to the parties' agreement.”
         Courbat v. Dahana Ranch, Inc., 111 Hawai‘i 254, 263 n. 11, 141 P.3d 427, 436 n. 11 (2006) (citation and
      quotation marks omitted).
7     The Hawai‘i Supreme Court in Inlandboatsmen's Union noted the recognition of the general rule regarding
      the enforcement of illegal contracts in connection with the limited public policy exception to the deference
      typically given to arbitration awards.   77 Hawai‘i at 193–94, 881 P.2d at 1261–62.


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          Exhibit D
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Rideout v. CashCall, Inc., Not Reported in Fed. Supp. (2018)


                                                                            (“FDCPA”), as well as negligent and knowing and/or willful

     KeyCite Overruling Risk - Negative Treatment
                                                                            violations of the Telephone Consumer Protection Act,       47
Overruling Risk U.S. Home Corporation v. Michael Ballesteros Trust, Nev.,   U.S.C. § 227 et seq. (“TCPA”). CashCall filed the instant
April 12, 2018                                                              Motion to Dismiss, or alternatively, Motion to Stay and
                  2018 WL 1220565                                           Compel Arbitration, on February 3, 2017. (ECF No. 6). On
    Only the Westlaw citation is currently available.                       February 8, 2017, Plaintiff filed his Response. (ECF No. 8).
       United States District Court, D. Nevada.                             Defendant filed its Reply to Plaintiff's Response on February
                                                                            27, 2017. (ECF No. 14). Magistrate Judge Cam Ferenbach
                  Kevin RIDEOUT, Plaintiff,                                 entered a Scheduling Order on October 30, 2017. (ECF No.
                           v.                                               25). Discovery was stayed pending the Court's order on the
                CASHCALL, INC., Defendant.                                  instant motion. (ECF No. 28).

             Case No. 2:16–cv–02817–RFB–VCF                                 On August 30, 2017, the Court held a hearing on the
                              |                                             Defendant's Motion. The Court ordered the parties to submit
                    Signed 03/07/2018                                       supplemental briefing on the issue of whether the Court, if it
                              |                                             decided that the disputed arbitration clause was enforceable,
                      Filed 03/08/2018                                      had the authority to require the arbitrator to apply federal law.
                                                                            Both Plaintiff and Defendant submitted their Supplemental
Attorneys and Law Firms
                                                                            Briefs on September 6, 2017. (ECF Nos. 20, 21).
David H. Krieger, Haines & Krieger, LLC, Henderson, NV,
for Plaintiff.
                                                                              III. FACTUAL ALLEGATIONS
David J. Merrill, David J. Merrill, P.C., Las Vegas, NV, for
Defendant.                                                                            a. CashCall's Debt Collection Practices

                                                                            The following factual allegations are taken from Plaintiff's
                               ORDER                                        Complaint. Plaintiff obtained a high interest loan with
                                                                            CashCall in the amount of $2500 (“the Debt”) and dutifully
                                                                            maintained payments on the Debt. Plaintiff ultimately repaid
  Defendant's Motion to Dismiss, or, in the Alternative,                    over $10,000 in interest and principal payments on the
      Motion for Stay and to Compel Arbitration                             Debt. After repaying the Debt, a representative at CashCall
                                                                            informed Plaintiff that the Debt was paid in full and he owed
RICHARD F. BOULWARE,                      II,   UNITED        STATES
                                                                            no further obligations to CashCall.
DISTRICT JUDGE

  I. INTRODUCTION                                                           However, in September 2015, CashCall began to call Plaintiff
 *1 Before the Court is Defendant CashCall, Inc.                            to collect payment on the Debt. During the collection phone
(“Defendant” or “CashCall”)'s Motion to Dismiss, or, in the                 calls, CashCall informed Plaintiff that the Debt was in default
Alternative, Motion to Stay and to Compel Arbitration. (ECF                 and demanded payment. CashCall also called Plaintiff's wife
No. 6). For the reasons stated below, the Court DENIES                      and children to collect payment on the Debt. CashCall called
Defendant's Motion.                                                         Plaintiff, his wife, and his children regularly and multiple
                                                                            times per day on a daily basis. CashCall called Plaintiff
                                                                            from various numbers, including but not limited to: 1–844–
  II. BACKGROUND                                                            302–2274; 1–267–885–2219 and 1–626–389–3322. CashCall
Plaintiff Kevin Rideout (“Rideout” or “Plaintiff”) filed                    called Plaintiff's cellular phone ending “9116” and landline
a Complaint with Jury Demand against Defendant on                           ending “8785”. CashCall also called Plaintiff before 9:00 a.m.
December 7, 2016. (ECF No. 1). Plaintiff alleges violations                 PST and after 9:00 PM on numerous occasions to collect the
of Nevada Revised Statues Chapter 604A.010 et seq.                          Debt.
(“NRS 604A”), which incorporates the Fair Debt Collection
Practices Act,           15 U.S.C. §§ 1692a to                    1692j


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CashCall continued to call Plaintiff, Plaintiff's wife and           be conducted by the Cheyenne River Sioux Tribal
Plaintiff's children despite Plaintiff disputing he owed any         Nation by an authorized representative in accordance
further payments on the Debt, informing CashCall that                with its consumer dispute rules and the terms of this
he repaid the Debt in full, and requesting that the calls            Agreement.” (ECF No. 6–1 at 8.)
cease. However, CashCall disregarded Plaintiff's requests and
continued to call Plaintiff on his cellular phone and landline     • Arbitration is a means of having an independent third
regularly to collect the Debt. CashCall also continued to call       party resolve a Dispute. A ‘Dispute’ is any controversy
Plaintiff's wife and children to collect the Debt.                   or claim between you [the Borrower] and Western Sky
                                                                     or the holder or servicer of the Note. The term Dispute is
 *2 On several occasions, but no later than in January               to be given its broadest possible meaning .... A Dispute
2016, during a phone conversation, Plaintiff demanded that           includes, by way of example and without limitation, any
CashCall cease contacting him to collect payment on the              claim based upon marketing or solicitations to obtain the
Debt. However, CashCall continued to place collection calls          loan and the handling of or servicing of [the Borrower's]
to Plaintiff and his family members to collect the Debt.             account .... For purposes of this Arbitration agreement,
                                                                     the term ‘the holder’ shall include Western Sky or
Plaintiff alleges that he has suffered and continues to              the then-current note holder's employees, officers,
suffer actual damages as a result of CashCall's unlawful             directors, attorneys, affiliated companies, predecessors,
conduct. Further, Plaintiff claims that CashCall's actions at        and assigns, as well as any marketing, servicing, and
all times herein were “willful.” As a direct consequence of          collection representatives and agents.” (ECF No. 6–1 at
CashCall's harassing phone calls, acts, practices and conduct,       8).
the Plaintiff suffered and continues to suffer from anger,
                                                                   • “Regardless of who demands arbitration, you shall have
anxiety, emotional distress, frustration, rage, headaches, an
                                                                      the right to select any of the following arbitration
upset stomach, heart palpitations, and has otherwise been
                                                                      organizations to administer the arbitration: the American
totally annoyed by CashCall's intrusive and illegal collection
                                                                      Arbitration Association [,] ... JAMS [,]... or an
efforts. Plaintiff has also lost the use of personal and family
                                                                      arbitration organization agreed upon by you and the
time while enduring these frustrations.
                                                                      other parties to the Dispute. The arbitration will be
                                                                      governed by the chosen arbitration organization's rules
                                                                      and procedures applicable to consumer disputes, to the
           b. The Underlying Loan Agreement                           extent that those rules and procedures do not contradict
                                                                      either the law of the Cheyenne River Sioux Tribe or the
The following facts are taken from the Motion to Dismiss              express terms of this Agreement to Arbitrate, including
and attached Exhibits. Plaintiff borrowed $2500 from Western          the limitations on the Arbitrator below.” (ECF No. 6–1
Sky Financial, LLC (“Western Sky”), an internet loan                  at 8).
provider. 1 To obtain the loan, Plaintiff signed the Western
Sky Consumer Loan Agreement (“Loan Agreement”). (ECF               *3 • “THIS ARBITRATION PROVISION IS MADE
No. 6–1 at 5–10). The Loan Agreement contains what                  PURSUANT TO A TRANSACTION INVOLVING
Defendant describes as an “explicit, reader-friendly, and           THE INDIAN COMMERCE CLAUSE OF THE
extensive arbitration clause.” (ECF No. 6 at 2). The Court          CONSTITUTION OF THE UNITED STATES OF
incorporates by reference the Loan Agreement. Relevant              AMERICA, AND SHALL BE GOVERNED BY THE
provisions from the Loan Agreement are set forth below:             LAW OF THE CHEYENNE RIVER SIOUX TRIBE.
                                                                    The arbitrator will apply the laws of the Cheyenne
  • “Unless you exercise your right to opt-out of arbitration in    River Sioux Tribal Nation and the terms of this
     the manner described below, any dispute you have with          Agreement.” (ECF No. 6–1 at 9).
     Western Sky or anyone else under this loan agreement
     will be resolved by binding arbitration.” (ECF No. 6–1        • “In the event you opt out of Arbitration, any disputes
     at 7).                                                           hereunder shall nonetheless be governed under the laws
                                                                      of the Cheyenne River Sioux Tribal Nation.” (ECF No.
  • “You agree that any Dispute, except as provided                   6–1 at 9).
    below, will be resolved by Arbitration, which shall



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On August 18, 2012, Western Sky sold its interest in Plaintiff's
                                                                     any dispute which he has not agreed so to submit.” AT & T
loan to WS Funding, LLC, a wholly-owned subsidiary of
                                                                     Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 648
CashCall. Following the sale, CashCall sent Plaintiff a Notice
of Assignment, Sale or Transfer of Servicing Rights, in which        (1986) (quoting      United Steelworkers of Am. v. Warrior
CashCall notified Plaintiff that Western Sky sold his loan to        & Gulf Nav. Co., 363 U.S. 574, 582 (1960)).
WS Funding and that CashCall would service the loan. (ECF
No. 6–1 at 12).                                                      The determination of whether a particular issue should be
                                                                     determined by the arbitrator rather than the court is governed
                                                                     by federal law.     Chiron Corp. v. Ortho Diagnostic Sys.,
  IV. LEGAL STANDARD
                                                                     Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). However, when
                                                                     deciding whether the parties agreed to arbitrate a certain
          a. Enforcement of Arbitration Clauses                      matter, courts generally apply ordinary state law principles of
                                                                     contract interpretation.  First Options of Chicago, Inc. v.
                        i. Federal Law                               Kaplan, 514 U.S. 938, 944 (1995).

The Federal Arbitration Act (“FAA”) provides that a “written          *4 Importantly, the Supreme Court has reiterated that
provision in ... a contract evidencing a transaction involving       arbitration clauses cannot effect a “substantive waiver of
commerce to settle by arbitration a controversy thereafter
arising ... shall be valid, irrevocable, and enforceable, save       federally protected civil rights.”      14 Penn Plaza LLC v.
upon such grounds as exist at law or in equity for the               Pyett, 556 U.S. 247, 273 (2009). That is because “by agreeing
                                                                     to arbitrate a statutory claim, a party does not forgo the
revocation of any contract.”         9 U.S.C. § 2. The FAA           substantive rights afforded by the statute; it only submits to
provides two methods for enforcing arbitration: (1) an order         their resolution in an arbitral, rather than a judicial, forum.”
compelling arbitration of a dispute; and (2) a stay of pending
litigation raising a dispute referable to arbitration. 9 U.S.C §§       Mitsubishi Motors Corp. v. Soler Chrysler–Plymouth,
3, 4.                                                                Inc., 473 U.S. 614, 628 (1985).


“By its terms, the Act leaves no place for the exercise of           Arbitration agreements may be invalidated by generally
discretion by a district court, but instead mandates that district   applicable contract defenses, such as fraud, duress, or
courts shall direct the parties to proceed to arbitration on         unconscionability.    Rent–A–Ctr., West, Inc. v. Jackson,
issues as to which an arbitration agreement has been signed.”        561 U.S. 63, 68 (2010) (citation omitted). Unconscionability,
   Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218             as a generally applicable contract defense, is governed by
(1985). The FAA limits the district court's role to determining      state law.   Ticknor v. Choice Hotels Int'l, Inc., 265 F.3d
(1) whether the parties agreed to arbitrate, and, if so, (2)         931, 939 (9th Cir. 2001). In Ticknor, the Ninth Circuit
whether the scope of that agreement to arbitrate encompasses         held that the FAA does not preempt state law governing
the claims at issue.    Nguyen v. Barnes & Noble Inc.,               the unconscionability of adhesion contracts.     Id. at 935.
763 F.3d 1171, 1175 (9th Cir. 2014). “The Arbitration Act            When evaluating unconscionability, federal courts must
establishes that, as a matter of federal law, any doubts             “approximate state law as closely as possible” and be bound
concerning the scope of arbitrable issues should be resolved
                                                                     by the pronouncements of the state's highest court.    Id. at
in favor of arbitration ....”   Moses H. Cone Mem'l Hosp.            939 (citations omitted). “Federal courts sitting in diversity
v. Mercury Const. Corp., 460 U.S. 1, 24–25 (1983). Thus,             look to the law of the forum state in making a choice of law
“[t]he standard for demonstrating arbitrability is not a high
                                                                     determination.”     Id. at 937 (citation omitted).
one; in fact, a district court has little discretion to deny an
arbitration motion, since the Act is phrased in mandatory
terms.”     Republic of Nicar. v. Std. Fruit Co., 937 F.2d
                                                                                              ii. State Law
469, 475 (9th Cir. 1991). However, “arbitration is a matter of
contract and a party cannot be required to submit to arbitration




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Although public policy favors enforcing arbitration clauses        contends that, because Plaintiff entered into a contract
under Nevada law, courts may invalidate arbitration                with Western Sky—namely, the Loan Agreement—and the
                                                                   contract contains an extensive arbitration provision, a valid
provisions as unconscionable.     D.R. Horton, Inc. v. Green,
                                                                   agreement therefore exists.
96 P.3d 1159, 1162 (Nev. 2004). “ ‘Generally, both procedural
and substantive unconscionability must be present in order
                                                                   Plaintiff argues in response that there is no evidence that
for a court to exercise its discretion to refuse to enforce
                                                                   Plaintiff ever signed, reviewed, or consented to the Loan
a ... clause as unconscionable.’ However, less evidence of
                                                                   Agreement. Plaintiff also argues that the Loan Agreement
substantive unconscionability is required in cases involving
                                                                   is inadmissible hearsay. However, the Court rejects these
great procedural unconscionability.” Id. (citations omitted).
                                                                   arguments, as Plaintiff does not dispute that he obtained
“A clause is procedurally unconscionable when a party lacks
                                                                   the loan from Western Sky—throughout his Complaint, he
a meaningful opportunity to agree to the clause terms either
                                                                   readily admits that he obtained the Debt and made payments
because of unequal bargaining power, as in an adhesion
                                                                   on the Debt. (ECF No. 1 at 3–4).
contract, or because the clause and its effects are not readily
ascertainable upon a review of the contract. Procedural
                                                                   Plaintiff additionally argues that the Loan Agreement should
unconscionability often involves the use of fine print or
                                                                   be invalidated as unenforceable and unconscionable, thereby
complicated, incomplete or misleading language that fails
                                                                   preventing a finding of agreement to arbitrate. He cites two
to inform a reasonable person of the contractual language's
                                                                   nonbinding circuit court cases in support of his argument
consequences.” Id. In terms of substantive unconscionability,
the Nevada Supreme Court has adopted the formulation of            —     Hayes v. Delbert Services Corporation, 811 F.3d 666
the inquiry used by the Ninth Circuit and explains that
                                                                   (4th Cir. 2016) and      Jackson v. PayDay Financial, LLC,
“where an arbitration agreement is concerned, the agreement
is unconscionable unless the arbitration remedy contains a         764 F.3d 765 (7th Cir. 2014). 2 In Hayes, a class of plaintiffs
                                                                   who received payday loans from Western Sky sued for
‘modicum of bilaterality.’ ” Id. at 1165 (quoting Ting v.          violations of the FDCPA and TCPA. The plaintiffs signed loan
AT&T, 319 F.3d 1126, 1149 (9th Cir.), cert. denied, 540 U.S.       agreements with Western Sky that included arbitration clauses
811, 124 S. Ct. 53 (2003)).                                        similar to the one at issue here. Defendant loan servicer, who
                                                                   was assigned the loans at issue, moved to compel arbitration
                                                                   under the FAA. The district court granted the motion. The
        b. Motion to Dismiss an Arbitrable Action                  Fourth Circuit reversed, and found that “[t]his arbitration
                                                                   agreement fails for the fundamental reason that it purports to
Section 3 of the FAA provides for a stay of legal proceedings      renounce wholesale the application of any federal law to the
whenever the issues in a case are within the reach of an
                                                                   plaintiffs' federal claims.” Hayes, 811 F.3d at 673. 3 “With
arbitration agreement. 9 U.S.C. § 3. Although the statutory
                                                                   one hand, the arbitration agreement offers an alternative
language supports a mandatory stay, the Ninth Circuit has
                                                                   dispute resolution procedure in which aggrieved persons may
interpreted this provision to allow a district court to dismiss
                                                                   bring their claims, and with the other, it proceeds to take
the action. See     Sparling v. Hoffman Const. Co., 864 F.2d
                                                                   those very claims away.” Id. at 673–74. The Fourth Circuit
635, 638 (9th Cir. 1988). A request for a stay is not mandatory.
                                                                   also found that the arbitration agreement's choice-of-law
   Martin Marietta Aluminum, Inc. v. Gen. Elec. Co., 586           provisions could not be severed from the rest of the arbitration
F.2d 143, 147 (9th Cir. 1978).                                     agreement. The Court cited to a Ninth Circuit case, which
                                                                   held: “It is a well-known principle in contract law that a clause
                                                                   cannot be severed from a contract when it is an integrated
  V. DISCUSSION
                                                                   part of the contract.”  Graham Oil Co. v. ARCO Prod. Co.,
                                                                   a Div. of Atl. Richfield Co., 43 F.3d 1244, 1248 (9th Cir.
           a. Unenforceability For Substantive                     1994), as amended (Mar. 13, 1995). The flawed provisions
           Waiver of Federal Statutory Rights                      could not be severed because “the offending provisions go
 *5 CashCall first argues that when Plaintiff obtained             to the core of the arbitration agreement.” Hayes, 811 F.3d
his loan, he agreed to arbitrate any disputes. CashCall            at 676. Further, the Fourth Circuit found that the overall



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loan agreement was problematic in light of the arbitration        arbitrate within 30 miles of his home. (ECF No. 6–1 at
agreement, given that neither state nor federal law applied       8). However, the Loan Agreement nonetheless states that
                                                                  “[t]he arbitration will be governed by the chosen arbitration
under the terms of the loan agreement.     Id. at 673–74.
                                                                  organization's rules and procedures applicable to consumer
                                                                  disputes, to the extent that those rules and procedures do not
 *6 The facts in Jackson are slightly different than in Hayes
                                                                  contradict either the law of the Cheyenne River Sioux Tribe or
and the instant case. There, plaintiffs litigated a Western Sky
                                                                  the express terms of this Agreement to Arbitrate.” (ECF No.
Loan Agreement with arbitration provisions that required
                                                                  6–1 at 8) (emphasis added). The Loan Agreement continues:
all litigation to be conducted by a Cheyenne River Sioux
                                                                  “Any arbitration under this Agreement may be conducted
tribal court and arbitrations to be done on the reservation.
                                                                  either on tribal land or within thirty miles of your residence, at
   764 F.3d at 769. Additionally, plaintiffs asserted state       your choice, provided that this accommodation for you shall
rather than federal causes of action. Id. The Seventh Circuit     not be construed in any way (a) as a relinquishment or waiver
had previously remanded to the district court to determine        of the Cheyenne River Sioux Tribe's sovereign status or
1) whether tribal law was readily available to the public,        immunity, or (b) to allow for the application of any law other
and 2) whether the Cheyenne River Sioux has an arbitrator         than the law of the Cheyenne River Sioux Tribe of Indians
and arbitration method actually available to the public.          to this Agreement.” (ECF No. 6–1 at 8). In a few sections
    Id. at 770. While evidence was presented to show that         above that language, the Loan Agreement provides: “You [the
tribal law was available to the public, the Court found           Borrower] agree that any Dispute, except as provided below,
that other evidence revealed that the arbitration mechanism       will be resolved by Arbitration, which shall be conducted
was “a sham and an illusion”—for example, the arbitrator          by the Cheyenne River Sioux Tribal Nation by an authorized
selected in one case was selected by the owner of Western         representative in accordance with its consumer dispute rules
Sky, and like Western Sky's owner, was a member of the            and the terms of this agreement.” (ECF No. 6–1 at 8). The
Cheyenne River Sioux. Id. The Court determined that the           Court thus finds that the Loan Agreement does not by its
loan agreement's forum selection clause was unreasonable          plain terms permit the application of any law as to permissible
because no such forum existed. The loan agreement provided        claims or the process for resolving disputes for such claims
for arbitration conducted by the Cheyenne River Sioux—            except that of the Cheyenne River Sioux. The Court further
but “[t]he Cheyenne River Sioux Tribe ‘does not authorize         finds that CashCall has presented no evidence that such an
Arbitration,’ it ‘does not involve itself in the hiring of ...    arbitral forum exists under Cheyenne River Sioux law. See
arbitrator[s],’ and it does not have consumer dispute rules.”     MacDonald, 2018 U.S. App LEXIS 4795, at *11–12, 2018
                                                                  WL 1056942 (noting lack of such an arbitral forum); Hayes,
  Id. at 776 (alterations in original) (footnotes omitted). The   811 F.3d 672–73 (accord).
Court also found the arbitration provision procedurally and
substantively unconscionable under Illinois law. Id. at 778.      The Court agrees with the reasoning of the court in
Further, the Seventh Circuit found that exhaustion in tribal      Hayes and finds that the arbitration provisions in the
court was not required, as defendants had not established a       Loan Agreement are unenforceable because the Loan
                                                                  Agreement's terms effect a waiver of substantive federal
colorable claim of tribal jurisdiction.   Id. at 781–86.
                                                                  statutory rights by requiring that the arbitration apply
                                                                  Cheyenne River Sioux law. The Cheyenne River Sioux
CashCall argues that the Court is not bound by the Fourth
                                                                  Tribal Constitution does not incorporate federal statutes or
Circuit's decision in Hayes, but makes no substantive
                                                                  the rights conferred upon individuals by such statutes. See
arguments about the case. CashCall additionally attempts
                                                                  Cheyenne River Sioux Tribe Constitution (approved Dec.
to distinguish Jackson, arguing that a different arbitration
                                                                  27, 1936), https://www.loc.gov/law/help/american-indian-
provision applied in that case, but it does not dispute the
                                                                  consts/PDF/36026282.pdf. CashCall acknowledges that the
Seventh Circuit's finding that Cheyenne River Sioux law
                                                                  statutory rights conferred upon the Plaintiff by the TCPA
does not have consumer dispute rules or analogous rights
                                                                  and FDCPA do not exist under Cheyenne River Sioux law
for consumers. The Court agrees that the Loan Agreement
                                                                  and it could not identify analogous rights that would exist.
at issue here purportedly authorizes arbitration before the
                                                                  Indeed, the Agreement has chosen the only type of forum
AAA or JAMS. (ECF No. 6–1 at 8). The Court also notes
                                                                  —tribal law—that exists in all states that could effect a
that, unlike the arbitration provision at issue in Jackson,
the arbitration provision here permits Plaintiff to select to     waiver of federal statutory rights. See generally          Plains


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Commerce Bank v. Long Family Land & Cattle Co., 554 U.S.             Plaintiff contends that the Loan Agreement is procedurally
316 (2008) (explaining that “tribal sovereignty, it should be        unconscionable because it was not possible for him to
remembered, is a sovereignty outside the basic structure of the      “ascertain the dispute resolution processes and rules to which
Constitution.”) (citations omitted). The Court finds, however,       he was agreeing” when he signed the Loan Agreement which
that Congress did not intend for the FAA to be used as a             included the arbitration provisions. CashCall argues that the
means “to waive all of a potential claimant's federal rights.”       arbitration provisions were not hidden—rather, they were “set
                                                                     off by a separate heading in bold and all capitals” and there
    Hayes, 811 F.3d at 675. As the Fourth Circuit aptly stated:
                                                                     was a clause in close proximity to the signature line. (ECF
“A party to an arbitration agreement may of course agree to
                                                                     No. 14 at 9–10). Additionally, CashCall contends that having
waive certain rights as part of that agreement.... But a party
                                                                     an opt-out provision supports its position that the arbitration
may not underhandedly convert a choice of law clause into a
                                                                     provisions are not procedurally unconscionable.
choice of no law clause—it may not flatly and categorically
renounce the authority of the federal statutes to which it is
                                                                     The Court agrees that the arbitration provisions were
and must remain subject.” Id. The Court therefore finds the
                                                                     identified in the Loan Agreement. However, the standard for
arbitration provisions in the Loan Agreement unenforceable
                                                                     procedural unconscionability under Nevada law also requires
and contrary to law, as Plaintiff cannot, based upon the facts
                                                                     examination of the effect of an arbitration clause (and related
of this case, waive substantive federal rights through a choice
                                                                     provisions) and whether an individual could readily ascertain
of law or forum selection clause.     Mitsubishi Motors Corp.,       the effect(s) of the arbitration clause. The Court finds that
473 U.S. at 628.                                                     the effect of the arbitration clause—the elimination of a
                                                                     consumer's ability to vindicate his federal statutory rights and
 *7 CashCall seeks to overcome this obvious legal                    the inapplicability of federal constitutional protections for
impediment by unilaterally “stipulating” in its supplemental         fairness—could not be readily ascertained by the Plaintiff.
submission to the adjudication of these federal statutory rights     The Plaintiff could not have reasonably ascertained and
in an arbitral forum governed by Cheyenne River Sioux law.           agreed to arbitrate his disputes in a forum that does not
Such a stipulation is farcical. First, the arbitrator acting under   offer the fundamental protections for fairness in a judicial or
Cheyenne River Sioux law would be under no obligation to
                                                                     arbitral proceeding. See generally Plains Commerce Bank,
follow such a stipulation and actually could not pursuant to
                                                                     554 U.S. 316 (2008) (explaining that “tribal sovereignty, it
the contract which requires the application of Cheyenne River
                                                                     should be remembered, is a sovereignty outside the basic
Sioux consumer dispute rules (which do not appear to exist)
                                                                     structure of the Constitution.”). The Court finds that an
and law. Second, and more importantly, the Court does not
                                                                     average person would not be familiar with unique sovereignty
find the clause to be severable as suggested by the proposed
                                                                     of tribal law in relation to state and federal law. That is to say
stipulation; CashCall cannot unilaterally and retroactively
                                                                     that the Court finds that an average person untrained in the law
decide what portions of a contract may be enforced.
                                                                     would not know that, by agreeing to tribal law as the choice of
                                                                     law, he or she was agreeing to completely abandon all possible
The Court therefore finds the arbitration clause unenforceable
                                                                     federal and state statutory claims (such as those under the
because it seeks to effect a prospective waiver of federal
                                                                     TCPA or NRS 604A) and also abandon any federal and state
statutory rights.
                                                                     due process protections associated with the adjudication of
                                                                     such rights.

         b. Unconscionability Under Nevada Law                       The opt-out clause in this case does not alleviate the
                                                                     unconscionability of this contract. Under the Agreement,
Plaintiff separately contends that the Loan Agreement is
                                                                     even if a party opts out of the arbitration provisions, the Loan
procedurally and substantively unconscionable, preventing a
                                                                     Agreement explicitly states that any disputes are nonetheless
finding that the parties agreed to arbitrate. The Court agrees.
                                                                     subject to the laws of the Cheyenne River Sioux Tribal Nation.
                                                                     Thus, the opt-out provision does not remedy the problem,
                                                                     because it does not offer a true opportunity to choose to
               i. Procedural Unconscionability                       retain the ability to pursue the federal and state statutory
                                                                     rights outside of the limitations of the sovereign law of




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the Cheyenne River Sioux—where such statutory rights and           and any costs or fees charged by the arbitrator. Additionally,
procedural due process rights do not exist.                        CashCall relies again upon the opt-out clause.

 *8 Again, CashCall's last minute effort to unilaterally           As a preliminary matter, the Court finds that, given the
“stipulate” that Plaintiff can continue to pursue his federal      severe degree of procedural unconscionability of the Loan
statutory claims in arbitration is unavailing. Even if Plaintiff   Agreement in terms of its conflicting clauses and reliance on
selects an arbitrator from AAA or JAMS, and even if                obscure law, less evidence of substantive unconscionability is
CashCall does not ask the arbitrator to apply Cheyenne Sioux
                                                                   required.    D.B. Horton, 96 P.3d at 1162.
Tribal Nation law, the plain language of the Loan Agreement
requires the arbitrator to do so. The arbitration may be done in
                                                                   Nonetheless, the Court finds that there is substantive
accordance with federal law and the procedures of the selected
                                                                   unconscionability and that such would be the case even if
arbitration organization, only to the extent neither conflicts
                                                                   there was not significant procedural unconscionability. First,
with Cheyenne River Sioux Tribal Nation law—which is to
                                                                   the very nature of the type of loan and its repayment terms
say, not at all. (See ECF No. 6–1 at 7) (“You also expressly
                                                                   reflect the extreme imbalance of bargaining leverage. Plaintiff
agree that this Agreement shall be subject to and construed
                                                                   obtained a loan for $2500 with a high interest rate, and paid
in accordance only with the provisions of the laws of the
                                                                   over $10,000 in interest and principal payments. Second, the
Cheyenne River Sioux Tribe, and that no United States state
                                                                   imbalance between the parties is reflected in the fact that the
or federal law applies to this Agreement.”); (see also ECF No
                                                                   terms of the contract were not subject to negotiation. CashCall
6–1 at 8) (“The arbitration will be governed by the chosen
                                                                   has repeatedly reiterated that the contract was a standard
arbitration organization's rules and procedures applicable
                                                                   agreement based upon a previous standard agreement which
to consumer disputes, to the extent that those rules and
                                                                   it had unilaterally modified over time. Third, the imbalance
procedures do not contradict either the law of the Cheyenne
                                                                   between the parties is reflected in the terms of the contract
River Sioux Tribe or the express terms of this Agreement to
                                                                   with respect to enforcement of its provisions. The Loan
Arbitrate ....”). The Court finds that this confusing sequence
                                                                   Agreement's apparent reliance on Cheyenne River Sioux law
of conflicting phrases in the Agreement is meant to obscure
                                                                   —which would, if enforced, provide the Defendant with
to the consumer the fact that she or he is essentially waiving
                                                                   significant relief from federal and state statutory causes of
all of the protections and claims that might be available under
                                                                   action and simultaneously strip the Plaintiff of both federal/
federal law. Therefore, the Court finds that the arbitration
                                                                   state statutory remedies and federal procedural protections
provisions contained within the Loan Agreement “involve [ ]
                                                                   —further confirms the imbalance of power between the two
the use of ... complicated, incomplete or misleading language
                                                                   contracting parties. Therefore, the Court finds that the Loan
that fails to inform a reasonable person of the contractual
                                                                   Agreement and its arbitration provisions are substantively
language's consequences” and therefore are procedurally
                                                                   unconscionable.
unconscionable.      D.R. Horton, 96 P.3d at 1162–63.
                                                                   Because the Loan Agreement is both procedurally and
                                                                   substantively unconscionable, the Court finds that there is
                                                                   no valid or enforceable agreement to arbitrate. Based on the
              ii. Substantive Unconscionability
                                                                   analysis above, the Court does not find any compelling reason
Plaintiff argues that the arbitration provisions are               to dismiss this case. As no valid agreement to arbitrate exists,
substantively unconscionable because its terms are one-sided       the Court cannot find that the disputes raised are subject to
and therefore unfair. Plaintiff further argues that there was      arbitration.
unequal bargaining power with regard to the choice of law for
the overall Loan Agreement, and with regard to the arbitration
                                                                     VI. CONCLUSION
provisions.
                                                                   Accordingly, Defendant's Motion to Dismiss, or, in the
                                                                   Alternative, Motion to Stay and to Compel Arbitration (ECF
CashCall contends that there is no substantive
                                                                   No. 6) is DENIED.
unconscionability for two reasons: 1) because the Loan
Agreement provides for arbitration before AAA or JAMS
using the rules of those organizations, and 2) because by the
terms of the Loan Agreement, CashCall will pay the filing fee


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                                                     Footnotes


1      The Loan Agreement states that the amount financed to Plaintiff was $2,525.00. (ECF No. 6–1 at 5).
2      The Third Circuit, since the filing of the parties' submissions, has also recently held this same arbitration
       clause to be unenforceable for offering an illusory arbitral forum.    MacDonald v. CashCall, Inc., 2018 U.S.
       App. LEXIS 4795, 2018 WL 1056942 (3d Cir. Feb. 27, 2018). The Court finds that this would be a separate
       basis to invalidate the clause in this case for the same reasons noted in MacDonald. Id. at *11–18, but the
       Court does not reach this analysis since the Court will invalidate the arbitration provisions on other grounds.
3      The Fourth Circuit also noted: “while Western Sky was a tribal-owned entity, [defendant loan servicer] is not.”
       This Court recognizes that CashCall also appears to not be a tribal-owned entity, and does not dispute this
       fact in any of its briefing. (See ECF No. 6–1 at 12) (listing CashCall's address for customer service inquiries
       and payment processing as located in Anaheim, CA).


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